                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                        NORTHERN DIVISION – BAY CITY
In re:

BOYCE HYDRO, LLC, et al.                                   Chapter 11
                                                           Case No. 20-21214
          Debtors.1                                        Hon. Daniel S. Opperman
                                              /

                LIQUIDATING TRUSTEE’S MOTION FOR
          ENTRY OF AN ORDER DISALLOWING CLAIMS WITHOUT
            COMPLETED PRE-DISTRIBUTION CERTIFICATIONS

PARTIES RECEIVING THIS MOTION SHOULD LOCATE THEIR NAMES
AND CLAIMS ON THE ATTACHED EXHIBIT 6a.

         The Liquidating Trustee of the Boyce Hydro Liquidating Trust, Scott

A. Wolfson (“Liquidating Trustee”), through counsel, for his Motion for Entry

of an Order Disallowing Claims Without Completed Pre-Distribution

Certifications (“Motion”), states:

                            JURISDICTION AND VENUE

         1.   The Court has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334.

         2.   This is a core proceeding under 28 U.S.C. § 157(b).



1The Debtors in these chapter 11 cases, along with the last four digits of
each Debtor’s federal taxpayer-identification number, are: (i) Boyce Hydro,
LLC (6694), Case No. 20-21214 and (ii) Boyce Hydro Power, LLC (3034),
Case No. 20-21215.



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         3.       Venue is proper in this district under 28 U.S.C. §§ 1408 and

1409.

                                       BACKGROUND

         A. Case Background

         4.       Debtors commenced voluntary cases under Chapter 11 of Title

11 of the United States Code (“Bankruptcy Code”) on July 31, 2020.

         5.       On February 23, 2021, Debtors filed their Fourth Modified Joint

Consolidated Chapter 11 Plan of Liquidation (“Plan”). [ECF No. 481].

         6.       On February 25, 2021, the Bankruptcy Court entered the Non-

Consensual Order Confirming Debtors’ Fourth Modified Joint Consolidated

Chapter 11 Plan of Liquidation (“Order Confirming Plan”). [ECF No. 489].

         7.       The Order Confirming Plan approved the establishment of the

Boyce Hydro Liquidating Trust (“Liquidating Trust”) and Scott A. Wolfson’s

appointment as the Liquidating Trustee of the Liquidating Trust as of the

Effective Date.

         8.       The Boyce Hydro Liquidating Trust Agreement [ECF No. 492-2]

(“Liquidating Trust Agreement”), along with the Plan, governs the

Liquidating Trust. [Plan Article VII.G].

         9.       The Effective Date of the Plan occurred on March 3, 2021.

[ECF No. 493].


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         B.       Background Related to the Motion

         10.      Article VI, Section D of the Plan states:

                  Notwithstanding anything in the Plan to the contrary,
                  prior to the Liquidating Trust making Distributions
                  hereunder, the Liquidating Trust may require each
                  Holder to furnish: (a) its Employer or Taxpayer
                  Identification Number as assigned by the Internal
                  Revenue Service on a Form W-9 and (b) a
                  certification that the Holder is not a person or entity
                  with whom it is illegal for a U.S. person to do
                  business under Office of Foreign Assets Control
                  (“OFAC”) sanctions regulations and/or the list of
                  Specially Designated Nationals and Blocked
                  Persons (collectively, the “Pre-Distribution
                  Certifications”). The Liquidating Trust will mail Pre-
                  Distribution Certification forms to the Distribution
                  Address for each Holder prior to Distributions being
                  made, and Holders shall have forty-five (45) days
                  from the date of mailing to return the executed Pre-
                  Distribution Certifications. Any Holder that fails to
                  return the executed Pre-Distribution Certifications
                  within such forty-five (45) day period shall be
                  deemed to have forfeited its right to receive
                  Distributions and shall be forever barred and
                  enjoined from asserting any right to Distributions
                  made prior to the Liquidating Trustee receiving its
                  executed Pre-Distribution Certifications (such a
                  Holder would only be entitled to a Pro-Rata Share of
                  remaining future Distributions, if any). Any
                  Distributions that are forfeited pursuant to this
                  provision will be returned to the particular Fund
                  within the Liquidating Trust from which the
                  Distribution was made.

[ECF No. 481, p. 40 of 69] (underlining added).




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         11.      In accordance with the Plan, the Liquidating Trustee, through its

claims and noticing agent, Stretto, mailed the Pre-Distribution Certifications

to each holder of a claim on June 15, 2022. [ECF No. 685].

         12.      Additionally, at the same time that hard copies of the Pre-

Distribution Certifications were mailed, Stretto’s webpage was updated to

include download links to Pre-Distribution Certifications and a means to

upload the same to Stretto. The web link can be found at:

https://cases.stretto.com/boycehydro/content/1557-pre-distribution-

certifications/.

         13.      More than 45-days have passed since the Liquidating Trustee

caused Pre-Distribution Certifications to be mailed to claimants.

         14.      The Liquidating Trustee has made numerous attempts to obtain

Pre-Distribution Certifications from claimants or their counsel.

         15.      Despite the Liquidating Trustee’s attempts to obtain the

required tax forms, there remain a significant number of claimants that

have not submitted completed Pre-Distribution Certifications.

         16.      As of the date of this Motion, the claims registry consists of

approximately 2,100 claims.

         17.      Of these claims, approximately 1,100 claims lack the required

executed Pre-Distribution Certifications.


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                                   RELIEF REQUESTED

         18.      The Liquidating Trustee seeks entry of an order, substantially in

the form of attached Exhibit 1, permanently disallowing the claims of

claimants that have failed to complete and return Pre-Distribution

Certifications.

                                    BASIS FOR RELIEF

         19.      As set forth on Exhibit 6a, there are approximately 1,100 claims

for which the claimant has failed to return a completed and executed Pre-

Distribution Certification.

         20.      Article VI, Section D of the Plan states in relevant part that

claimants who do not submit Pre-Distribution Certifications “shall be forever

barred and enjoined from asserting any right to Distributions made prior to

the Liquidating Trustee receiving its executed Pre-Distribution Certifications

(such a Holder would only be entitled to a Pro-Rata Share of remaining

future Distributions, if any).” [ECF No. 481, p. 40 of 69].

         21.      While the language of the Plan is self-effectuating, the

Liquidating Trustee files this Motion, in part, to provide a final notice and an

opportunity to claimants that have not submitted completed Pre-Distribution

Certifications.




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         22.      As the Liquidating Trustee nears the end of the claims review

and reconciliation process, the Liquidating Trustee envisions one final

distribution to creditors and believes that an order of the Court disallowing

the claims of claimants that have not completed the Pre-Distribution

Certifications is appropriate.

         23.      Article 10 of the Plan reserves jurisdiction of the Court for

various purposes, including “to enter such orders as may be necessary or

appropriate to implement or consummate the provisions of the Plan[.]”

[ECF No. 481].

         WHEREFORE, the Liquidating Trustee respectfully requests that the

Court enter an order in the form attached as Exhibit 1 and grant such

additional relief as the Court may deem just and equitable.




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                                             Respectfully submitted,

                                             WOLFSON BOLTON KOCHIS PLLC
                                             Counsel for the Liquidating Trustee

Dated: January 25, 2024                      By:_/s/ Kelsey A. Postema_____
                                                   Anthony J. Kochis (P72020)
                                                   Kelsey A. Postema (P85428)
                                             3150 Livernois, Suite 275
                                             Troy, MI 48083
                                             Telephone: (248) 781-8106
                                             Facsimile: (248) 247-7099
                                             Email: kpostema@wolfsonbolton.com




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                                       EXHIBIT INDEX
             EXHIBIT 1                Proposed Order

             EXHIBIT 2                Notice of Motion and Opportunity to
                                      Respond

             EXHIBIT 3                n/a

             EXHIBIT 4                Certificate of Service

             EXHIBIT 5                n/a

            EXHIBIT 6a                List Of Claimants That Have Failed To
                                      Return A Completed And Executed Pre-
                                      Distribution Certification




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Exhibit 1

                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION – BAY CITY
      In re:

      BOYCE HYDRO, LLC, et al.                                  Chapter 11
                                                                Case No. 20-21214
               Debtors.1                                        Hon. Daniel S. Opperman
                                                   /

                  ORDER GRANTING LIQUIDATING TRUSTEE’S
            MOTION FOR ENTRY OF AN ORDER DISALLOWING CLAIMS
            WITHOUT COMPLETED PRE-DISTRIBUTION CERTIFICATIONS

               This matter having come before the Court upon the Liquidating

      Trustee’s Motion for Entry of an Order Disallowing Claims Without

      Completed Pre-Distribution Certifications (“Motion”); 2 the Court having

      reviewed the Motion; the Court having found that: (a) jurisdiction to

      consider the Motion is proper under 28 U.S.C. §§ 157 and 1334; (b) venue

      is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; (c)

      notice of the Motion was properly provided; (d) good cause exists to grant

      the relief requested in the Motion; (e) the relief requested in the Motion is in

      the best interests of the Debtors, the Debtors’ estates, and creditors of the


      1
       The debtors in these chapter 11 cases, along with the last four digits of
      each Debtor’s federal taxpayer-identification number, are: (i) Boyce Hydro,
      LLC (6694), Case No. 20-21214 and (ii) Boyce Hydro Power, LLC (3034),
      Case No. 20-21215.
      2
       Capitalized terms used but not defined in this Order have the meanings
      given to them in the Motion.


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Debtors’ estates; (f) all objections, if any, to the Motion having been

withdrawn, waived, settled, or overruled; and (e) the Court being otherwise

fully advised in the premises;

IT IS HEREBY ORDERED that:

       1.      The Motion is granted.

       2.      The claims set forth on Exhibit 6a to the Motion, for which the

claimants failed to complete Pre-Distribution Certifications, are permanently

disallowed, and the Liquidating Trustee is relieved of any duty to issue

distribution checks to those claimants.

       3.      The Liquidating Trustee is authorized to take all actions

necessary to effectuate the relief granted in this Order and in accordance

with the Motion.

       4.      This Court retains jurisdiction over all disputes arising under or

otherwise relating to the construction, performance, and enforcement of the

terms of this Order.




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Exhibit 2

                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION – BAY CITY
       In re:

       BOYCE HYDRO, LLC, et al.                                       Chapter 11
                                                                      Case No. 20-21214
                 Debtors.1                                            Hon. Daniel S. Opperman
                                                        /

            NOTICE OF LIQUIDATING TRUSTEE’S MOTION FOR ENTRY OF AN
              ORDER DISALLOWING CLAIMS WITHOUT COMPLETED PRE-
           DISTRIBUTION CERTIFICATIONS AND OPPORTUNITY TO RESPOND

              The Liquidating Trustee, Scott A. Wolfson, through counsel, has filed
       papers with the Court seeking to permanently disallowing the claims of
       claimants that have failed to complete and return Pre-Distribution
       Certifications.

            Your rights may be affected. You should read these papers
       carefully and discuss them with your attorney, if you have one in this
       bankruptcy case. (If you do not have an attorney you may wish to
       consult one.)

              If you do not want the court to grant the relief requested in the Motion,
       or if you want the court to consider your views on the Motion, within 14
       days, you or your attorney must:

                      1. File with the court a written response of answer2, explaining
                         your position at:




       1
        The Debtors in these chapter 11 cases, along with the last four digits of
       each Debtor’s federal taxpayer-identification number, are: (i) Boyce Hydro,
       LLC (6694), Case No. 20-21214 and (ii) Boyce Hydro Power, LLC (3034),
       Case No. 20-21215.
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            Any response or answer must comply with F. C. Civ. P. 8(b), (c), and (e).
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                   U.S. Bankruptcy Court
                   Eastern District of Michigan
                   111 First Street
                   Bay City, Michigan 48708

If you mail your response to the court for filing, you must mail it early
enough so the court will receive it on or before the date stated above. All
attorneys are required to file pleadings electronically.

                   You must also mail a copy to:

                   Wolfson Bolton Kochis PLLC
                   Attn: Anthony J. Kochis
                   3150 Livernois, Suite 275
                   Troy, MI 48083

               2. If a response or answer is timely filed and served, the clerk
                  will schedule a hearing on the Motion and you will be served
                  with a notice of the date, time and location of the hearing.

     If you or your attorney do not take these steps, the court may
decide that you do not oppose the relief sought in the Motion or
objection and may enter an order granting that relief.

                                            Respectfully submitted,
                                            WOLFSON BOLTON KOCHIS PLLC
                                            Counsel for the Liquidating Trustee

Dated: January 25, 2024                     By:_/s/ Kelsey A. Postema____
                                            Anthony J. Kochis (P72020)
                                            Kelsey A. Postema (P85428) 3150
                                            Livernois, Suite 275
                                            Troy, MI 48083
                                            Telephone: (248) 781-8106
                                            Facsimile: (248) 247-7099
                                            Email: kpostema@wolfsonbolton.com




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Exhibit 4


                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION – BAY CITY
     In re:

     BOYCE HYDRO, LLC, et al.                                       Chapter 11
                                                                    Case No. 20-21214
              Debtors.1                                             Hon. Daniel S. Opperman
                                                      /

                               CERTIFICATE OF SERVICE
              I certify that, on January 25, 2024, I caused the Liquidating

     Trustee’s Motion For Entry Of An Order Disallowing Claims Without

     Completed Pre-Distribution Certifications to be electronically filed with the

     Clerk of the Court using the ECF system, which sent notification of such

     filing to all ECF participants requesting electronic service, including the

     following:

     Danielle Allison-Yokom on behalf of Creditor Michigan Department of
     Environment, Great Lakes, and Energy
     allisonyokomd@michigan.gov,
     WierengaJ1@michigan.gov;GibsonJ16@michigan.gov

     Danielle Allison-Yokom on behalf of Creditor Michigan Department of
     Natural Resources
     allisonyokomd@michigan.gov,
     WierengaJ1@michigan.gov;GibsonJ16@michigan.gov


     1
      The Debtors in these chapter 11 cases, along with the last four digits of
     each Debtor’s federal taxpayer-identification number, are: (i) Boyce Hydro,
     LLC (6694), Case No. 20-21214 and (ii) Boyce Hydro Power, LLC (3034),
     Case No. 20-21215.

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Sharon S. Almonrode on behalf of Creditor Sanford Hardware 1, LLC
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Amanda Murphy
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Andrew VanNortwick
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Brandi Bills
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Casey Copley
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Cassandra Colley
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Charles Colley
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Craig Richardson
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor David Sweet, Jr.
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor James Murphy
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Josie Weckesser
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Kathy Little
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Kevin Colvin
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Linda Copley
                                                 2
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ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Matthew S. Smith
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Michael Mercer
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Nicholas Saum
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Nicole Saum
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Sharon S. Almonrode on behalf of Creditor Wayne Hall
ssa@millerlawpc.com, aad@millerlawpc.com;gam@millerlawpc.com

Rebekah L. Bailey on behalf of Creditor Cable Class Plaintiffs
bailey@nka.com

Rebekah L. Bailey on behalf of Creditor Janel Whitmore
bailey@nka.com

Rebekah L. Bailey on behalf of Creditor Nathan Whitmore
bailey@nka.com

Jason W. Bank on behalf of Defendant U.S. Bank National Association
jbank@kerr-russell.com, nnajor@kerr-russell.com

Michael E. Baum on behalf of Creditor Holly Johnson
mbaum@schaferandweiner.com, jburns@schaferandweiner.com

Michael E. Baum on behalf of Creditor Holly Kovacs
mbaum@schaferandweiner.com, jburns@schaferandweiner.com

Michael E. Baum on behalf of Creditor Kimberly Borchard
mbaum@schaferandweiner.com, jburns@schaferandweiner.com

Michael E. Baum on behalf of Creditor Robert Woods
mbaum@schaferandweiner.com, jburns@schaferandweiner.com
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Michael E. Baum on behalf of Creditor Timothy D. Dana
mbaum@schaferandweiner.com, jburns@schaferandweiner.com

Kimberly Bedigian on behalf of Creditor Sanford Hardware 1, LLC
kbedigian@sbplclaw.com

Kimberly Bedigian on behalf of Creditor The Mass Coalition
kbedigian@sbplclaw.com

Kimberly Bedigian on behalf of Creditor Cassandra Colley
kbedigian@sbplclaw.com

Kimberly Bedigian on behalf of Creditor Charles Colley
kbedigian@sbplclaw.com

Kimberly Bedigian on behalf of Creditor Matthew S. Smith
kbedigian@sbplclaw.com

Kimberly Bedigian on behalf of Creditor Michael Mercer
kbedigian@sbplclaw.com

Jayson E. Blake on behalf of Creditor Alicia Mrdutt
jeblake@mcalpinepc.com, mlmcalpine@mcalpinepc.com

Jayson E. Blake on behalf of Creditor Dana Ralko
jeblake@mcalpinepc.com, mlmcalpine@mcalpinepc.com

Jayson E. Blake on behalf of Creditor David Phillips
jeblake@mcalpinepc.com, mlmcalpine@mcalpinepc.com

Jayson E. Blake on behalf of Creditor James Mrdutt
jeblake@mcalpinepc.com, mlmcalpine@mcalpinepc.com

Jayson E. Blake on behalf of Creditor Joe Bruneau
jeblake@mcalpinepc.com, mlmcalpine@mcalpinepc.com

Jayson E. Blake on behalf of Creditor Mary Randall
jeblake@mcalpinepc.com, mlmcalpine@mcalpinepc.com


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Jayson E. Blake on behalf of Creditor Osro Randall
jeblake@mcalpinepc.com, mlmcalpine@mcalpinepc.com

Jayson E. Blake on behalf of Creditor Patty Ralko
jeblake@mcalpinepc.com, mlmcalpine@mcalpinepc.com

Ian S. Bolton on behalf of Creditor Karl Kacel
ianboltonlaw@gmail.com, barbie51766@gmail.com

Howard M. Borin on behalf of Creditor Holly Johnson
hborin@schaferandweiner.com, jburns@schaferandweiner.com

Howard M. Borin on behalf of Creditor Holly Kovacs
hborin@schaferandweiner.com, jburns@schaferandweiner.com

Howard M. Borin on behalf of Creditor Kimberly Borchard
hborin@schaferandweiner.com, jburns@schaferandweiner.com

Howard M. Borin on behalf of Creditor Robert Woods
hborin@schaferandweiner.com, jburns@schaferandweiner.com

Howard M. Borin on behalf of Creditor Timothy D. Dana
hborin@schaferandweiner.com, jburns@schaferandweiner.com

Charles D. Bullock on behalf of Creditor Sanford Hardware 1, LLC
cbullock@sbplclaw.com, lhaas@sbplclaw.com

Charles D. Bullock on behalf of Creditor The Mass Coalition
cbullock@sbplclaw.com, lhaas@sbplclaw.com

Charles D. Bullock on behalf of Creditor Adam Riggie
cbullock@sbplclaw.com, lhaas@sbplclaw.com

Charles D. Bullock on behalf of Creditor Adrian Wise
cbullock@sbplclaw.com, lhaas@sbplclaw.com

Charles D. Bullock on behalf of Creditor Amy Kaylor
cbullock@sbplclaw.com, lhaas@sbplclaw.com

Charles D. Bullock on behalf of Creditor Cassandra Colley
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cbullock@sbplclaw.com, lhaas@sbplclaw.com

Charles D. Bullock on behalf of Creditor Charles Colley
cbullock@sbplclaw.com, lhaas@sbplclaw.com

Charles D. Bullock on behalf of Creditor Jeffrey Kaylor
cbullock@sbplclaw.com, lhaas@sbplclaw.com

Charles D. Bullock on behalf of Creditor Jillian Wise
cbullock@sbplclaw.com, lhaas@sbplclaw.com

Charles D. Bullock on behalf of Creditor Matthew S. Smith
cbullock@sbplclaw.com, lhaas@sbplclaw.com

Charles D. Bullock on behalf of Creditor Michael Mercer
cbullock@sbplclaw.com, lhaas@sbplclaw.com

Jacob Carlton on behalf of Creditor Mike and Lisa McGaugh
carltonj@millerjohnson.com,
9688700420@filings.docketbird.com;ecfpigginsj@millerjohnson.com

Philip T. Carroll on behalf of Creditor Allianz Global Corporate & Specialty
SE
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor American Bankers Insurance
Company of Florida
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor American Security Insurance
Company
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor American Strategic Insurance
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Corporation
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor Frankenmuth Mutual Insurance
Company
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor Great American Insurance
Company of New York
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor Hiscox Syndicates Limited
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor Liberty Mutual Insurance Company
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor Progressive Marathon Insurance
Company
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor Progressive Michigan Insurance
Company
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor Safeco Insurance Company
                                                 7
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pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor State Farm Mutual Automobile
Insurance Company
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Philip T. Carroll on behalf of Creditor Westport Insurance Corporation
pcarroll@cozen.com,
jgoeing@cozen.com;mpolicastro@cozen.com;philip-carroll-
5601@ecf.pacerpro.com

Kimberly Ross Clayson on behalf of Defendant The Kogan Law Group,
P.C.
kclayson@taftlaw.com,
ttorni@taftlaw.com;DET_Docket_Assist@taftlaw.com

Elliot G. Crowder on behalf of Creditor Sanford Hardware 1, LLC
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor The Mass Coalition
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Adam Riggie
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Adrian Wise
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Amanda Murphy
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Amy Kaylor
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Andrew VanNortwick
ecrowder@sbplclaw.com, lhaas@sbplclaw.com
                                                 8
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Elliot G. Crowder on behalf of Creditor Brandi Bills
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Casey Copley
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Cassandra Colley
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Charles Colley
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Craig Richardson
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor David Sweet, Jr.
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor James Murphy
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Jeffrey Kaylor
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Jillian Wise
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Josie Weckesser
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Kathy Little
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Kevin Colvin
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Linda Copley
ecrowder@sbplclaw.com, lhaas@sbplclaw.com


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Elliot G. Crowder on behalf of Creditor Matthew S. Smith
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Michael Mercer
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Nicholas Saum
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Nicole Saum
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

Elliot G. Crowder on behalf of Creditor Wayne Hall
ecrowder@sbplclaw.com, lhaas@sbplclaw.com

David Dubin on behalf of Creditor Debra Kroening
ddubin@ldclassaction.com

Nathan A. Gambill on behalf of Creditor Michigan Department of
Environment, Great Lakes, and Energy
GambillN@michigan.gov,
WierengaJ1@michigan.gov;Gibson16@michigan.gov

Nathan A. Gambill on behalf of Creditor Michigan Department of Natural
Resources
GambillN@michigan.gov,
WierengaJ1@michigan.gov;Gibson16@michigan.gov

Celeste R. Gill on behalf of Creditor Michigan Department of
Environment, Great Lakes, and Energy
gillc1@michigan.gov, WierengaJ1@michigan.gov

Celeste R. Gill on behalf of Creditor Michigan Department of Natural
Resources
gillc1@michigan.gov, WierengaJ1@michigan.gov

Rozanne M. Giunta on behalf of Creditor Four Lakes Task Force
rgiunta@wnj.com,
scardinal@wnj.com;GuintaRR81911@notify.bestcase.com


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Logan Grizzell on behalf of Liquidating Trustee Scott A. Wolfson
lgrizzell@wolfsonbolton.com

Paul R. Hage on behalf of Defendant The Kogan Law Group, P.C.
phage@taftlaw.com,
ttorni@taftlaw.com;DET_Docket_Assist@taftlaw.com

Robert J. Hahn on behalf of Creditor Gladwin County
rhahn@cmda-law.com, kueberroth@cmda-law.com;bmccarty@cmda-
law.com

Robert J. Hahn on behalf of Creditor Midland County
rhahn@cmda-law.com, kueberroth@cmda-law.com;bmccarty@cmda-
law.com

Ernest Hassan on behalf of Creditor Sanford Hardware 1, LLC
ehassan@sbplclaw.com, lhaas@sbplclaw.com

Ernest Hassan on behalf of Creditor Cassandra Colley
ehassan@sbplclaw.com, lhaas@sbplclaw.com

Ernest Hassan on behalf of Creditor Charles Colley
ehassan@sbplclaw.com, lhaas@sbplclaw.com

Ernest Hassan on behalf of Creditor Matthew S. Smith
ehassan@sbplclaw.com, lhaas@sbplclaw.com

Ernest Hassan on behalf of Creditor Michael Mercer
ehassan@sbplclaw.com, lhaas@sbplclaw.com

Ronna G. Jackson on behalf of U.S. Trustee Andrew R. Vara
Ronna.G.Jackson@usdoj.gov

Henry L. Knier, Jr. on behalf of Creditor Gerace Construction Company
bankruptcy@smpklaw.com, hknier@smpklaw.com

Anthony J. Kochis on behalf of Accountant Thomas A. Risi
akochis@wolfsonbolton.com, stravis@wolfsonbolton.com

Anthony J. Kochis on behalf of Liquidating Trustee Scott A. Wolfson
                                             11
4860-4911-1455, v. 1 Doc 1021
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akochis@wolfsonbolton.com, stravis@wolfsonbolton.com

Anthony J. Kochis on behalf of Other Professional Stretto
akochis@wolfsonbolton.com, stravis@wolfsonbolton.com

Anthony J. Kochis on behalf of Plaintiff Scott A. Wolfson
akochis@wolfsonbolton.com, stravis@wolfsonbolton.com

Anthony J. Kochis on behalf of Special Counsel H. Adam Cohen
akochis@wolfsonbolton.com, stravis@wolfsonbolton.com

Lawrence A Kogan on behalf of Creditor Lee Mueller
lkogan@koganlawgroup.com

Lawrence A Kogan on behalf of Creditor Michele Mueller
lkogan@koganlawgroup.com

Scott Kwiatkowski on behalf of Creditor Homrich Edenville Dam Class
Plaintiffs
scott@bk-lawyer.net

Jonathan E. Lauderbach on behalf of Creditor Four Lakes Task Force
jlauderbach@wnj.com

Jonathan E. Lauderbach on behalf of Creditor Gerace Construction
Company
jlauderbach@wnj.com

Michael D. Lieberman on behalf of Creditor Adam Riggie
MLieberman@lipsonneilson.com,
LOMeara@lipsonneilson.com;Mlieberman6160@yahoo.com

Michael D. Lieberman on behalf of Creditor Adrian Wise
MLieberman@lipsonneilson.com,
LOMeara@lipsonneilson.com;Mlieberman6160@yahoo.com

Michael D. Lieberman on behalf of Creditor Amy Kaylor
MLieberman@lipsonneilson.com,
LOMeara@lipsonneilson.com;Mlieberman6160@yahoo.com


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Michael D. Lieberman on behalf of Creditor Jeffrey Kaylor
MLieberman@lipsonneilson.com,
LOMeara@lipsonneilson.com;Mlieberman6160@yahoo.com

Michael D. Lieberman on behalf of Creditor Jillian Wise
MLieberman@lipsonneilson.com,
LOMeara@lipsonneilson.com;Mlieberman6160@yahoo.com

Leon N. Mayer on behalf of Creditor Holly Johnson
lnmayer@schaferandweiner.com, lfernandez@schaferandweiner.com

Leon N. Mayer on behalf of Creditor Holly Kovacs
lnmayer@schaferandweiner.com, lfernandez@schaferandweiner.com

Leon N. Mayer on behalf of Creditor Kimberly Borchard
lnmayer@schaferandweiner.com, lfernandez@schaferandweiner.com

Leon N. Mayer on behalf of Creditor Robert Woods
lnmayer@schaferandweiner.com, lfernandez@schaferandweiner.com

Leon N. Mayer on behalf of Creditor Timothy D. Dana
lnmayer@schaferandweiner.com, lfernandez@schaferandweiner.com

Mark L. McAlpine on behalf of Creditor Alicia Mrdutt
mlmcalpine@mcalpinelawfirm.com, dajaworski@mcalpinepc.com

Mark L. McAlpine on behalf of Creditor Dana Ralko
mlmcalpine@mcalpinelawfirm.com, dajaworski@mcalpinepc.com

Mark L. McAlpine on behalf of Creditor David Phillips
mlmcalpine@mcalpinelawfirm.com, dajaworski@mcalpinepc.com

Mark L. McAlpine on behalf of Creditor James Mrdutt
mlmcalpine@mcalpinelawfirm.com, dajaworski@mcalpinepc.com

Mark L. McAlpine on behalf of Creditor Joe Bruneau
mlmcalpine@mcalpinelawfirm.com, dajaworski@mcalpinepc.com

Mark L. McAlpine on behalf of Creditor Mary Randall
mlmcalpine@mcalpinelawfirm.com, dajaworski@mcalpinepc.com
                                             13
4860-4911-1455, v. 1 Doc 1021
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Mark L. McAlpine on behalf of Creditor Osro Randall
mlmcalpine@mcalpinelawfirm.com, dajaworski@mcalpinepc.com

Mark L. McAlpine on behalf of Creditor Patty Ralko
mlmcalpine@mcalpinelawfirm.com, dajaworski@mcalpinepc.com

Matthew E. McClintock on behalf of Debtor In Possession Boyce Hydro
Power, LLC
MATTM@GOLDMCLAW.COM,
teresag@restructuringshop.com;ericg@goldmclaw.com

Matthew E. McClintock on behalf of Debtor In Possession Boyce Hydro,
LLC
MATTM@GOLDMCLAW.COM,
teresag@restructuringshop.com;ericg@goldmclaw.com

Matthew E. McClintock on behalf of Interested Party Boyce Hydro Power,
LLC
MATTM@GOLDMCLAW.COM,
teresag@restructuringshop.com;ericg@goldmclaw.com

Ralph E. McDowell on behalf of Creditor Brad Phillion
rmcdowell@bodmanlaw.com

Ralph E. McDowell on behalf of Creditor Daryl Zelenak
rmcdowell@bodmanlaw.com

Ralph E. McDowell on behalf of Creditor Gorgia Masouridis Moore
rmcdowell@bodmanlaw.com

Ralph E. McDowell on behalf of Creditor Heidi Kidd
rmcdowell@bodmanlaw.com

Ralph E. McDowell on behalf of Creditor James Beath
rmcdowell@bodmanlaw.com

Ralph E. McDowell on behalf of Creditor James Paquette
rmcdowell@bodmanlaw.com


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4860-4911-1455, v. 1 Doc 1021
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Ralph E. McDowell on behalf of Creditor Michelle Hill
rmcdowell@bodmanlaw.com

Ralph E. McDowell on behalf of Creditor Mike Callan
rmcdowell@bodmanlaw.com

Ralph E. McDowell on behalf of Creditor Regan Wieland
rmcdowell@bodmanlaw.com

Ralph E. McDowell on behalf of Creditor Suzette Gay Zelenak
rmcdowell@bodmanlaw.com

Daniel R Merkle on behalf of Creditor Stephen Hultberg
danm@msfseattle.com

Daniel R Merkle on behalf of Defendant Helen's Holdings, LLC
danm@msfseattle.com

Matthew Hale Morgan on behalf of Creditor Cable Class Plaintiffs
morgan@nka.com

Bruce N. Moss on behalf of Creditor Affiliated FM Insurance Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Altman Management, LLC
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor American Guarantee and Liability
Insurance Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Axis Surplus
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
DNAPF006484-00-Tri-City
bmoss@dt-law.com
                                             15
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Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
MIFL00631003-Michels
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP303385-2020-Reaume
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP407517-2019-Harris
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP427616-2019-Gehrchke
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP576330-2019-Sprague
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP616384-Thomas
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP648136-2019-Chad
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP660734-2019-Huver
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP750302-Kabat
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP807996-2020-Michael
bmoss@dt-law.com
                                             16
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Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP823658-Lynch
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NCIP844682-2020-Neiman
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-
NIP878669-Parsons
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Certain Underwriters-Lloyd's-VPC-
CN0000010-05-Altman
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Citizens Insurance Company of
America
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Citizens Insurance Company of
Midwest
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Conifer Insurance Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Dairyland Insurance Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Essentia Insurance Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Factory Mutual Insurance Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Farm Bureau General Insurance
Company of Michigan
bmoss@dt-law.com
                                             17
4860-4911-1455, v. 1 Doc 1021
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Bruce N. Moss on behalf of Creditor Florists Mutual Insurance Company
Hortica
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Hastings Mutual Insurance Co.
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Houston Casualty Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Independent Specialty Insurance
Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Indian Harbor Insurance Co.
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Indiana Harbor Insurance Co.
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Interstate Fire & Casualty Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Lexington Insurance Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor MEEMIC Insurance Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor National Fire & Marine Insurance
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Pioneer Mutual Insurance Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Princeton Excess and Surplus Lines
Insurance Company
bmoss@dt-law.com


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Bruce N. Moss on behalf of Creditor Telephone & Data Systems, Inc.
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Trisura Specialty Insurance
Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor United Specialty Insurance
Company
bmoss@dt-law.com

Bruce N. Moss on behalf of Creditor Zurich American Insurance
Company
bmoss@dt-law.com

Barbara A. Patek on behalf of Creditor Adam Riggie
pateklaw@gmail.com

Barbara A. Patek on behalf of Creditor Adrian Wise
pateklaw@gmail.com

Barbara A. Patek on behalf of Creditor Amy Kaylor
pateklaw@gmail.com

Barbara A. Patek on behalf of Creditor Jeffrey Kaylor
pateklaw@gmail.com

Barbara A. Patek on behalf of Creditor Jillian Wise
pateklaw@gmail.com

John T. Piggins on behalf of Creditor Mike and Lisa McGaugh
ecfpigginsj@millerjohnson.com,
pigginsj@millerjohnson.com;8473902420@filings.docketbird.com

Kelsey A. Postema on behalf of Liquidating Trustee Scott A. Wolfson
kpostema@wolfsonbolton.com

David L. Powers on behalf of Creditor Gerace Construction Company
dpowers@smpklaw.com, arex@smpklaw.com;shougaard@smpklaw.com


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David Lawrence Puskar on behalf of Creditor City of Midland
davpus@braunkendrick.com,
brirei@braunkendrick.com;kelspe@braunkendrick.com

David Lawrence Puskar on behalf of Creditor Pat's Gradall Service, Inc.
davpus@braunkendrick.com,
brirei@braunkendrick.com;kelspe@braunkendrick.com

James B. Rasor on behalf of Creditor Brooke and Jeffrey Kriebel
jbr@rasorlawfirm.com, ljh@rasorlawfirm.com;emn@rasorlawfirm.com

James B. Rasor on behalf of Creditor Christopher, Terry Miller
jbr@rasorlawfirm.com, ljh@rasorlawfirm.com;emn@rasorlawfirm.com

James B. Rasor on behalf of Creditor Don and Teresa Turskey
jbr@rasorlawfirm.com, ljh@rasorlawfirm.com;emn@rasorlawfirm.com

James B. Rasor on behalf of Creditor Duane and Brenda Whitman
jbr@rasorlawfirm.com, ljh@rasorlawfirm.com;emn@rasorlawfirm.com

James B. Rasor on behalf of Creditor Eric Turnquist
jbr@rasorlawfirm.com, ljh@rasorlawfirm.com;emn@rasorlawfirm.com

James B. Rasor on behalf of Creditor James Rogers
jbr@rasorlawfirm.com, ljh@rasorlawfirm.com;emn@rasorlawfirm.com

James B. Rasor on behalf of Creditor Jason and Tina Parsons
jbr@rasorlawfirm.com, ljh@rasorlawfirm.com;emn@rasorlawfirm.com

James B. Rasor on behalf of Creditor Joseph and Becky Uhelski
jbr@rasorlawfirm.com, ljh@rasorlawfirm.com;emn@rasorlawfirm.com

James B. Rasor on behalf of Creditor Kathleen and Mark Chorbagian
jbr@rasorlawfirm.com, ljh@rasorlawfirm.com;emn@rasorlawfirm.com

James B. Rasor on behalf of Creditor Rex and Nancy Clark
jbr@rasorlawfirm.com, ljh@rasorlawfirm.com;emn@rasorlawfirm.com

Jeffery Jon Sattler on behalf of Creditor Holly Johnson
jsattler@schaferandweiner.com, lfernandez@schaferandweiner.com
                                             20
4860-4911-1455, v. 1 Doc 1021
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Jeffery Jon Sattler on behalf of Creditor Holly Kovacs
jsattler@schaferandweiner.com, lfernandez@schaferandweiner.com

Jeffery Jon Sattler on behalf of Creditor Kimberly Borchard
jsattler@schaferandweiner.com, lfernandez@schaferandweiner.com

Jeffery Jon Sattler on behalf of Creditor Robert Woods
jsattler@schaferandweiner.com, lfernandez@schaferandweiner.com

Jeffery Jon Sattler on behalf of Creditor Timothy D. Dana
jsattler@schaferandweiner.com, lfernandez@schaferandweiner.com

Craig S. Schoenherr, Sr. on behalf of Creditor Ally Bank
ecf@orlaw.com

Mark H. Shapiro on behalf of Trustee Mark H. Shapiro
shapiro@steinbergshapiro.com, jbrown@steinbergshapiro.com

Lisa D. Starks on behalf of Creditor Byline Bank
lisa.starks@btlaw.com, Orlanda.Hauff@btlaw.com

Andrew C. Thompson on behalf of Creditor Billings Township
athompson@pdkg.com, hgraham@pdkg.com

David A. Tilem on behalf of Creditor Lee Mueller
DavidTilem@TilemLaw.com, staff@tilemlaw.com

David A. Tilem on behalf of Creditor Michele Mueller
DavidTilem@TilemLaw.com, staff@tilemlaw.com

Edward M Turfe on behalf of Creditor Allstate Fire and Casualty
Insurance Company
edturfe@turfelaw.com

Edward M Turfe on behalf of Creditor Allstate Indemnity Company
edturfe@turfelaw.com

Edward M Turfe on behalf of Creditor Allstate Insurance Company
edturfe@turfelaw.com
                                             21
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Edward M Turfe on behalf of Creditor Allstate New Jersey Insurance
Company
edturfe@turfelaw.com

Edward M Turfe on behalf of Creditor Allstate New Jersey Property and
Casualty Insurance Company
edturfe@turfelaw.com

Edward M Turfe on behalf of Creditor Allstate Northbrook Indemnity
Company
edturfe@turfelaw.com

Edward M Turfe on behalf of Creditor Allstate Property and Casualty
Insurance Company
edturfe@turfelaw.com

Edward M Turfe on behalf of Creditor Allstate Texas Lloyds
edturfe@turfelaw.com

Edward M Turfe on behalf of Creditor Allstate Vehicle and Property
Insurance Company
edturfe@turfelaw.com

Scott A. Wolfson on behalf of Liquidating Trustee Scott A. Wolfson
swolfson@wolfsonbolton.com, stravis@wolfsonbolton.com

                                            Respectfully submitted,

                                            WOLFSON BOLTON KOCHIS PLLC

Dated: January 25, 2024                     By:_/s/ Kelsey A. Postema
                                            Anthony J. Kochis (P72020)
                                            Kelsey A. Postema (P85428)
                                            3150 Livernois, Suite 275
                                            Troy, MI 48083
                                            Telephone: (248) 781-8106
                                            Facsimile: (248) 247-7099
                                            E-Mail: kpostema@wolfsonbolton.com


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      Exhibit 6a – Claims for Which Claimants Have Not Returned
               Completed Pre-Distribution Certifications
   Claim or
   Schedule                                                                 Class
    Number       Creditor Name          Law Firm        Claim Amount      Designation
       6         AAA Michigan                             $1,500.00         Class 6
                                       Buckfire &
     6096          Abbe, Dan          Buckfire, P.C.     $50,000.00         Class 5
                 Abbot, Cynthia
     3936         and Edward         Stern Law, PLLC     $50,000.00         Class 5
     4557          Abms, Kim            Fieger Law       $50,000.00         Class 5
     4833       Adams, Michael          Fieger Law       $50,000.00         Class 5
     4843         Adloph, Alan          Fieger Law       $50,000.00         Class 5
                Aerstin, Franklyn
     3938        and Gretchen        Stern Law, PLLC     $50,000.00         Class 5
                    Affiliated
                  Researchers
    236225            LLC                                 $4,605.06         Class 4
                    Affiliated
                  Researchers
    236281            LLC                                 $8,056.64         Class 4
                                     The Miller Law
     7808        Ager, Charles         Firm, P.C.        $50,000.00         Class 5
                  Agle, Stacia
                  Bender and
     3560           Thomas           Stern Law, PLLC     $50,000.00         Class 5
                Agnello, Rosario
     4850          and Mary            Fieger Law        $50,000.00         Class 5
                                     Miller Law Firm,
     7898       Aiken, Donna Jo             P.C.         $50,000.00         Class 5
                  Alexander II,           Grant &
     5303            Yvaes           Eisenhofer, P.A.    $50,000.00         Class 5
                   Alexander,           Buckfire &
     6145            David            Buckfire, P.C.     $50,000.00         Class 5
                                     The Miller Law
     7761        Allen, Andrew          Firm, P.C.       $50,000.00         Class 5
                Allen, Karri Allen   Nichols Kaster,
     8160          and Robert              PLLP          $50,000.00         Class 5
                                     The Miller Law
     7421         Allen, Nancy          Firm, P.C.       $50,000.00         Class 5
                  Allianz Global
                     Risks US
                    Insurance
     6011           Company          Cozen O'Connor      $116,126.85        Class 6
      1             Ally Bank                             $7,455.58         Class 3
                                     The Miller Law
     7514        Alvord, Roseta        Firm, P.C.        $50,000.00         Class 5




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                                         Pitt, McGehee,
                                        Palmer, Bonanni
       6723             Ambs, Kim         & Rivers PC      $50,000.00         Class 5
                        American
                         Bankers
                        Insurance
                       Company of
       6012               Florida       Cozen O'Connor     $47,102.22         Class 6
                        American
                         Security
                        Insurance
       6006             Company         Cozen O'Connor     $151,273.12        Class 6
                     American Select     Law Offices of
                        Insurance          Robert A.
       8148             Company            Stutman         $105,000.00        Class 6
                        American
                         Strategic
       2982          Insurance Corp.    Cozen O'Connor     $70,844.71         Class 6
                                            Grant &
       8076          Anderson, Dale     Eisenhofer P.A.    $50,000.00         Class 5
                                            Grant &
       8073         Anderson, David     Eisenhofer P.A.    $50,000.00         Class 5
                      Anderson,          The Miller Law
       7163             Janice             Firm, P.C.      $50,000.00         Class 5
                                         Johnson Law,
       6366         Anderson, Jenny           PLC          $50,000.00         Class 5
                                         The Miller Law
       7182          Anderson, Kane        Firm, P.C.      $50,000.00         Class 5
                       Anderson,
                       Robert and
       3941              Melissa        Stern Law, PLLC    $50,000.00         Class 5
                       Anderson,         The Miller Law
       7581              Theron            Firm, P.C.      $50,000.00         Class 5
                     Andree III, John
       8151              William                           $50,000.00         Class 5
       4884           Antal, James        Fieger Law       $50,000.00         Class 5
                     Antonucci, Dino
       3944            and Dayle        Stern Law, PLLC    $50,000.00         Class 5
                                           Buckfire &
       6262          Apple, Timothy      Buckfire, P.C.    $50,000.00         Class 5
                     Arbury, Ardith
                      and Bennett,
       3945              Leslie         Stern Law, PLLC    $50,000.00         Class 5
                    Archers Archery,     The Miller Law
       7771               LLC              Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7369            Arent, Mark         Firm, P.C.      $50,000.00         Class 5
       4886           Arnold, Donna        Fieger Law      $50,000.00         Class 5
                                         The Miller Law
       7508          Arthur, Rodney        Firm, P.C.      $50,000.00         Class 5



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                        Atherton,         Buckfire &
       1937             Donnalee         Buckfire, P.C.    $50,000.00         Class 5
                                          Buckfire &
       6081            Athey, Betly      Buckfire, P.C.    $50,000.00         Class 5
                      Athey, Patricia
       4895            and Dennis         Fieger Law       $50,000.00         Class 5
                      Atwell, Jesse
       3946            and Michele      Stern Law, PLLC    $50,000.00         Class 5
                                         Johnson Law,
       6629          Ault, Ronald W.          PLC          $50,000.00         Class 5
                                         The Miller Law
       7765          Authier, Cheryl       Firm, P.C.      $50,000.00         Class 5
                      Auto-Wares
      236229             Group                               $511.76          Class 4
                      Ayotte, Kevin
       3947           and Melissa       Stern Law, PLLC    $50,000.00         Class 5
                     Bacon, William      The Miller Law
       7595                D.              Firm, P.C.      $50,000.00         Class 5
                     Bacon, William      The Miller Law
       7651             Dennis             Firm, P.C.      $50,000.00         Class 5
       4903           Badder, Rex          Fieger Law      $50,000.00         Class 5
                                         The Miller Law
       7272           Bader, Laurie        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7865           Bailey, Brian        Firm, P.C.      $50,000.00         Class 5
                     Bait and More,      The Miller Law
       7707                LLC             Firm, P.C.      $50,000.00         Class 5
                         Baker,
                     Stephanie and      Johnson Law,
       6621              Jeremy              PLC           $50,000.00         Class 5
                                        The Miller Law
       7575          Balcirak, Susan      Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7753             Ball, Darla       Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7588          Balogh, Steven       Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7931         Banach, Carolyn       Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7346          Baranek, Julie       Firm, P.C.       $50,000.00         Class 5
                     Baringer, Jana
       3950                M.        Stern Law, PLLC       $50,000.00         Class 5
       7980          Barron, Gail A. Dubin Law, PLLC       $50,000.00         Class 5
                        Bastuk,       The Miller Law
       7528            Rebecca          Firm, P.C.         $50,000.00         Class 5
                    Bauers, Ray and
       3952              Marie       Stern Law, PLLC       $50,000.00         Class 5
                     Bazzani, Ruth      Buckfire &
       6221               Ann         Buckfire, P.C.       $50,000.00         Class 5




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                                        The Miller Law
       7176         Beard, Katherine       Firm, P.C.      $50,000.00         Class 5
                                            Grant &
       8123           Beard, Stacy      Eisenhofer P.A.    $50,000.00         Class 5
                                        The Miller Law
       7755           Bearss, David        Firm, P.C.      $50,000.00         Class 5
                       Beaudoing,
                       Colleen and
       4977              Roger           Fieger Law        $50,000.00         Class 5
                                        The Miller Law
       7630         Beauty, Spotlight     Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7457           Bebe, Mary          Firm, P.C.       $50,000.00         Class 5
                    Belfit, Sandra M.   The Miller Law
       7417              Hansen           Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7868            Bell, Dianne       Firm, P.C.       $50,000.00         Class 5
                                          Buckfire &
       6243            Bell, Tim        Buckfire, P.C.     $50,000.00         Class 5
                    Bender, Thomas
       4988               John            Fieger Law       $50,000.00         Class 5
                        Benner,
                    Christopher and
       3955             Patricia        Stern Law, PLLC    $50,000.00         Class 5
                                            Grant &
       8121          Benty, Romonia      Eisenhofer P.A    $50,000.00         Class 5
                                         The Miller Law
       7614            Berg, Susan         Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7395          Bilina, Michael       Firm, P.C.      $50,000.00         Class 5
                          Billings
                        Township
      236216            Treasurer                           $7,430.94         Class 4
                                        The Miller Law
       7321             Bird, Ken         Firm, P.C.       $50,000.00         Class 5
                                          Buckfire &
       6267          Birden, Charles    Buckfire, P.C.     $50,000.00         Class 5
                        Birkmeier,        Buckfire &
       6197              Patricia       Buckfire, P.C.     $50,000.00         Class 5
                      Bischer, Dale
       5042              and Jill        Fieger Law        $50,000.00         Class 5
       5043           Bishop, Risk       Fieger Law        $50,000.00         Class 5
                                        The Miller Law
       7202         Bismack, Jeffery      Firm, P.C.       $50,000.00         Class 5
                     Blaine, James
                       and Zorn,
       3957              Matilda        Stern Law, PLLC    $50,000.00         Class 5
                     Blaine, Robert      Johnson Law,
       6368           and Donna               PLC          $50,000.00         Class 5




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                     Blaisdell, Phillip
       6037              and Erin         Stern Law, PLLC    $50,000.00         Class 5
       5044            Blake, Amy            Fieger Law      $50,000.00         Class 5
                                           c/o Stern Law
       3959          Blizzard, John             PLLC         $50,000.00         Class 5
                      Bloomfield,
                       Stuart and
       5045              Barbara            Fieger Law       $50,000.00         Class 5
                    Blue Cross Blue
                        Shield of
      236231            Michigan                              $2,111.37         Class 4
                      Blumenfeld,         The Miller Law
       7066               Eileen            Firm, P.C.       $50,000.00         Class 5
       5046          Blumlo, David         Fieger Law        $50,000.00         Class 5
                    Boehm, Thomas
       5047           and Barbara           Fieger Law       $50,000.00         Class 5
                                              Grant &
       8115            Bole, Taylor       Eisenhofer, P.A.   $50,000.00         Class 5
                                             Buckfire &
       6185          Boman, Denise         Buckfire, P.C.    $50,000.00         Class 5
                                          The Miller Law
       7524           Boman, Phyllis         Firm, P.C.      $50,000.00         Class 5
                        Bonadies,
                       Joseph and
       5048              Renita             Fieger Law       $50,000.00         Class 5
                      Booth, Casey
       5050            and Danielle         Fieger Law       $50,000.00         Class 5
                     Booth, Gary and
       3961               Holly           Stern Law, PLLC    $50,000.00         Class 5
       3886           Born, Barbara          Fieger Law      $50,000.00         Class 5
                                           The Miller Law
       7823           Bosch, Carol           Firm, P.C.      $50,000.00         Class 5
                     Boulton, Joseph
       3963            and Judith         Stern Law, PLLC    $50,000.00         Class 5
                     Bourgeau, Paul
       3887           and Candace           Fieger Law       $50,000.00         Class 5
                         Bourret
                        Township
      236217           Treasurer                               $158.82          Class 4
                        Bowland,           The Miller Law
       7652              Thomas              Firm, P.C.      $50,000.00         Class 5
                                           The Miller Law
       7153         Brabbs, Gregory          Firm, P.C.      $50,000.00         Class 5
                                           The Miller Law
       7412          Bragg, Michael          Firm, P.C.      $50,000.00         Class 5
       3966          Braley, Michael      Stern Law, PLLC    $50,000.00         Class 5
                      Brandimore,
                       Ronda and
       5055              William            Fieger Law       $50,000.00         Class 5




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                                           Buckfire &
       6149         Brasseur, James      Buckfire, P.C.    $50,000.00         Class 5
       3967           Braye, Kevin      Stern Law, PLLC    $50,000.00         Class 5
                        Breckon,
                      Rhonda and
       5058              James            Fieger Law       $50,000.00         Class 5
                        Brenske,
       3975             Barbara         Stern Law, PLLC    $50,000.00         Class 5
                     Briggin, Larry
       3980            and Muriel       Stern Law, PLLC    $50,000.00         Class 5
                                         The Miller Law
       7683          Briggs, Annalee       Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7820          Briggs, Annalee       Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7073          Briggs, Edward        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7737           Brock Jr., A.J.      Firm, P.C.      $50,000.00         Class 5
       5063          Brooks, Coleen        Fieger Law      $50,000.00         Class 5
                                           Buckfire &
       6125           Bruner, Jared      Buckfire, P.C.    $50,000.00         Class 5
                                         The Miller Law
       7522          Bruns, Rhonda         Firm, P.C.      $50,000.00         Class 5
                     Bryant, Malcolm
       5092            and Pamela         Fieger Law       $50,000.00         Class 5
                        Bucholz,
                       Thomas and        c/o Stern Law
       3985              Virginia            PLLC          $50,000.00         Class 5
                      Buda, Michael
       5093             and Joan         Fieger Law        $50,000.00         Class 5
                                        The Miller Law
       7504            Buist, Peter       Firm, P.C.       $50,000.00         Class 5
                                          Buckfire &
       6172           Burch, Mark       Buckfire, P.C.     $50,000.00         Class 5
                       Burnham,           Buckfire &
       6219             Sandra          Buckfire, P.C.     $50,000.00         Class 5
                     Burns, Joshua
                      and Nemeth,
       3906              Jamie            Fieger Law       $50,000.00         Class 5
                     Burns, Timothy
       3989           and Pamela        Stern Law PLLC     $50,000.00         Class 5
                                         The Miller Law
       7316          Burton, Lonnie        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7716          Burton, Rosetta       Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7564          Burton, Sherry        Firm, P.C.      $50,000.00         Class 5
                     Bush, Dr. Ray       Johnson Law,
       6435           and Susan               PLC          $50,000.00         Class 5




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                                        The Miller Law
       7615           Bushre, Terry       Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7816            Buss, Armin        Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7391          Butzu, Michael       Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7752          Buxton, Damian       Firm, P.C.       $50,000.00         Class 5
                                        Nichols Kaster,
       8154          Cable, Whitney         PLLP           $50,000.00         Class 5
                       Caldwell,
                      Shannyn and
       5106             Joseph           Fieger Law        $50,000.00         Class 5
                                        The Miller Law
       7107         Camp, Elizabeth       Firm, P.C.       $50,000.00         Class 5
                      Campbell,
       5107             Carlos            Fieger Law       $50,000.00         Class 5
                      Campbell,
       5108             Catera            Fieger Law       $50,000.00         Class 5
                      Campbell,
       5109           Diabenese           Fieger Law       $50,000.00         Class 5
                      Campbell,
       5110             Richard           Fieger Law       $50,000.00         Class 5
                      Campbell,
                      Robert and
       3993            Carleen         Stern Law, PLLC     $50,000.00         Class 5
                    Campbell, Robin
       5111            and Vicki          Fieger Law       $50,000.00         Class 5
                      Campbell,
       5112             Virginia          Fieger Law       $50,000.00         Class 5
                                        The Miller Law
       7639           Card, William       Firm, P.C.       $50,000.00         Class 5
                      Carlson, Patty    Johnson Law,
       6400           and Stephen            PLC           $50,000.00         Class 5
                                            Grant &
       8099           Carter, Marcy     Eisenhofer P.A     $50,000.00         Class 5
                         Carter,
       3995            Quenterrion     Stern Law PLLC      $50,000.00         Class 5
                     Caskey, Wayne
       3996            and Josette     Stern Law PLLC      $50,000.00         Class 5
       5144           Cay, Matthew       Fieger Law        $50,000.00         Class 5
                                         Centurylink
                      CenturyTel of    Communications,
        11           Michigan, Inc.    LLC - Bankruptcy     $1,088.96         Class 4
                         Certain
                     Underwriters at
                     Lloyd's London
                    and Great Lakes      Skierski Jain
        752           Insurance SE          PLLC           $56,845.28         Class 6




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                        Certain
                    Underwriters at
                        Lloyd's,
                    DNAPF006484-           Denenberg
       3067                00             Tuffley, PLLC      $185,000.00       Class 6
                        Certain
                    Underwriters at
                    Lloyd's, London
                       Sub to the
                        Policies           Skierski Jain
        751            Identified             PLLC           $639,088.78       Class 6
                        Certain
                    Underwriters at
                        Lloyd's,
                     NCIP576330-           Denenberg
       3062              2019             Tuffley, PLLC       $5,000.00        Class 6
                    Chambers, Terry
       3998             and Jon          Stern Law PLLC       $50,000.00       Class 5
                                          The Miller Law
       7641          Chantiny, Terry        Firm, P.C.        $50,000.00       Class 5
                                          The Miller Law
       7422          Chappell, Mark         Firm, P.C.        $50,000.00       Class 5
                      Charbonneau,          Buckfire &
       6107               David           Buckfire, P.C.      $50,000.00       Class 5
                     Chastain, Arthur
       5142             and Judy           Fieger Law         $50,000.00       Class 5
                        Chesney,
                      Matthew and
       3999              Michele         Stern Law PLLC       $50,000.00       Class 5
                       Chorbagian,
                        Mark and         Rasor Law Firm,
       6057             Kathleen             PLLC            $197,285.27       Class 5
                       Christodolu,
                        Chris and
       5153              Darlene           Fieger Law         $50,000.00       Class 5
                     Cianek, Donald
       5157            and Darlene         Fieger Law         $50,000.00       Class 5
                                             Grant &
       8092         Cicinelli, Michael   Eisenhofer, P.A.     $50,000.00       Class 5
                    Cikalo, John and
       5159             Catherine           Fieger Law        $50,000.00       Class 5
                                          Braun Kendrick
       5516          City of Midland     Finkbeiner P.L.C.   $5,166,615.57     Class 5
                     Claim for Loop
                     Midland Perrine
                      Pointe, LP -
                      4112 Perrine        The Miller Law
       7726               Pointe            Firm, P.C.        $50,000.00       Class 5
                     Clare, Rodney
       5160             and Linda          Fieger Law         $50,000.00       Class 5



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        795           Clark Hill PLC                        $71,773.23        Class 4
                      Clark, Jeffrey
       5164             and Kelly          Fieger Law       $50,000.00        Class 5
                     Clark, Rex and      Rasor Law Firm,
       6053               Nancy               PLLC         $264,858.69        Class 5
                     Clark, Ryan and
       5165                Lisa            Fieger Law       $50,000.00        Class 5
       4002           Clark, Sandra      Stern Law PLLC     $50,000.00        Class 5
                                          The Miller Law
       7592           Clark, William        Firm, P.C.      $50,000.00        Class 5
                         Clement
                        Township
      236218            Treasurer                            $307.11          Class 4
                       Clemmons,
                       Sherry and
       5168               James            Fieger Law       $50,000.00        Class 5
       5169           Clever, Linda        Fieger Law       $50,000.00        Class 5
                      Clipper, Larry
       5170            and Aileen          Fieger Law       $50,000.00        Class 5
                        Cochran,
       5171              Lindsay           Fieger Law       $50,000.00        Class 5
       5172          Cocking, Kristie      Fieger Law       $50,000.00        Class 5
                                          Giroux Trial
       6711            Coder, Paul       Attorneys, PC     $187,840.55        Class 5
                                         The Miller Law,
       7776          Coffell, Bernard         P.C.          $50,000.00        Class 5
                                         The Miller Law
       7890           Cole, Denise         Firm, P.C.       $50,000.00        Class 5
                                         The Miller Law
       7682           Cole, Dennis         Firm, P.C.       $50,000.00        Class 5
                                         The Miller Law
       7902           Cole, Dennis         Firm, P.C.       $50,000.00        Class 5
                        Coleman
                     Electric/Great
                          Lakes
      236245         Emergency P                             $1,704.00        Class 4
       5173          Colley, Charles       Fieger Law       $50,000.00        Class 5
       4003          Collins, Debra      Stern Law PLLC     $50,000.00        Class 5
                      Collins, Drew
       5174           and LeAndra          Fieger Law       $50,000.00        Class 5
                       Consumers
                         Energy
       5517             Company                            $1,294,840.19      Class 4
                       Consumers
                         Energy
       5517             Company                              $976.92          Class 5
                                            Grant &
       8064          Contreras, Alicia   Eisenhofer P.A     $50,000.00        Class 5
                      Cooper, Grace      The Miller Law
       7135                Ann             Firm, P.C.       $50,000.00        Class 5



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                                         The Miller Law
       7167          Coppinger, John       Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7832          Copus, Carolyn        Firm, P.C.      $50,000.00         Class 5
       5175           Corbat, Darin       Fieger Law       $50,000.00         Class 5
                                           Buckfire &
       6209           Corey, Pricilla    Buckfire, P.C.    $50,000.00         Class 5
       4004           Correll, Daniel   Stern Law PLLC     $50,000.00         Class 5
                                         The Miller Law
       7634         Coulson, Wanda         Firm, P.C.      $50,000.00         Class 5
                    Cox, Catherine
       5177            and Bert           Fieger Law       $50,000.00         Class 5
       5179          Craig, Russell       Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7384          Cramer, Michael       Firm, P.C.      $50,000.00         Class 5
                        Crawford,
       4006               Bobbie        Stern Law PLLC     $50,000.00         Class 5
                     Crawford, David
       4007            and Sherry       Stern Law PLLC     $50,000.00         Class 5
                        Crawford,           Grant &
       5470              Timothy        Eisenhofer, P.A.   $50,000.00         Class 5
       5181           Criswell, Linda     Fieger Law       $50,000.00         Class 5
                                         Johnson Law,
       2292          Cuddie, Jessica          PLC          $50,000.00         Class 5
                                         The Miller Law
       7794          Curry, Clement        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7451         Cusack, Melinda        Firm, P.C.      $50,000.00         Class 5
       5182         Cutcher, Charles      Fieger Law       $50,000.00         Class 5
       4009         Cwiklinski, Lois    Stern Law PLLC     $50,000.00         Class 5
                                         The Miller Law
       7096         Czabala, Francis       Firm, P.C.      $50,000.00         Class 5
                      Czerwinski,        The Miller Law
       7527            Patrick A.          Firm, P.C.      $50,000.00         Class 5
       3400          Danielak, Scott    Stern Law PLLC     $50,000.00         Class 5
                       Danielak,
                      Thomas and
       3398              Janet          Stern Law PLLC     $50,000.00         Class 5
                     Danielak, Tim
       3399           and Seanne        Stern Law PLLC     $50,000.00         Class 5
                       Darabos,            Buckfire &
       6128            Raymond           Buckfire, P.C.    $50,000.00         Class 5
                                           Buckfire &
       6129            Darby, Jane       Buckfire, P.C.    $50,000.00         Class 5
                        Davidson,        The Miller Law
       7892              Donald            Firm, P.C.      $50,000.00         Class 5
       8012           Davis, Tamara     Dubin Law, PLLC    $50,000.00         Class 5
                      Day, Kenneth
       4025             and Kelly         Fieger Law       $50,000.00         Class 5




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                                          The Miller Law
       7080          DeGroot, James         Firm, P.C.      $50,000.00         Class 5
                                            Buckfire &
       6083            Dehaan, Bill       Buckfire, P.C.    $50,000.00         Class 5
                                          The Miller Law
       7437          Deliso, Marsha         Firm, P.C.      $50,000.00         Class 5
       5193         Demars, Marsha         Fieger Law       $50,000.00         Class 5
                      Dennis-King,        The Miller Law
       7657                Sue              Firm, P.C.      $50,000.00         Class 5
                         Denno,
                     Raymond and
       3403                Sally         Stern Law PLLC     $50,000.00         Class 5
                     Department of
                      Environment,           Michigan
                      Great Lakes,        Department of
       3360            and Energy        Attorney General   $516,030.00        Class 7
                     Department of
                     the Treasury -
                         Internal
                        Revenue
        15               Service                               $0.00           Class 4
                                           Giroux Trial
       6712           Derus, Jason        Attorneys, PC     $50,000.00         Class 5
                                          The Miller Law
       7818           Dery, Barbara         Firm, P.C.      $50,000.00         Class 5
                                          Johnson Law,
       6609          DeShano, Brian            PLC          $50,000.00         Class 5
                                            Buckfire &
       6237          Deshields, Terra     Buckfire, P.C.    $50,000.00         Class 5
                                          The Miller Law
       7138         Devereaux, Gale         Firm, P.C.      $50,000.00         Class 5
                                          Johnson Law,
       6472          DeWyre, Mary              PLC          $50,000.00         Class 5
       5195            Dice, Vera          Fieger Law       $50,000.00         Class 5
                       Dickerson,
                       Harold and
       5196              Phyllis           Fieger Law       $50,000.00         Class 5
                     Dietrich, Arthur
       5198            and Judith          Fieger Law       $50,000.00         Class 5
                                          Johnson Law,
       6447           Dietzel, Larry          PLC           $50,000.00         Class 5
                      Diffenderfer,
                      Melissa and
       3405              Jeffrey         Stern Law PLLC     $50,000.00         Class 5
                                            Buckfire &
       6198          Dingman, Karie       Buckfire, P.C.    $50,000.00         Class 5
                      Dinnan, Luke         Giroux Trial
       6713               and Jill        Attorneys, PC     $50,000.00         Class 5
       3407          Dittenber, Arthur   Stern Law PLLC     $50,000.00         Class 5




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                                        The Miller Law
       7501          Dittmer, Margie      Firm, P.C.       $50,000.00         Class 5
                                           Grant &
       8082          Doehring, Doug    Eisenhofer, P.A.    $50,000.00         Class 5
       3408          Domine, Patrick   Stern Law PLLC      $50,000.00         Class 5
                      Dominowski,
                       Roger and
       5201              Karen            Fieger Law       $50,000.00         Class 5
                       Donahue,
                      Michael and
       3409              Dawn          Stern Law PLLC      $50,000.00         Class 5
                                        The Miller Law
       7858            Dorr, Ashley       Firm, P.C.       $50,000.00         Class 5
                        Douglas,        The Miller Law
       7842              Andrew           Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7172           Douglas, John       Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7360          Douglas, Maria       Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7400          Douglas, Matt        Firm, P.C.       $50,000.00         Class 5
                    Douglas, Patrick
       5206            and Helen          Fieger Law       $50,000.00         Class 5
                    Douglas, Steven
       5210            and Sarah          Fieger Law       $50,000.00         Class 5
                    Dowgiallo, John       Giroux Trial
       6714           and Sandra         Attorneys, PC     $50,000.00         Class 5
                    Downey, Gerald
       5209          and Suzanne          Fieger Law       $50,000.00         Class 5
       5211         Drayton, Donald       Fieger Law       $50,000.00         Class 5
       5907          Dubay, Donald        Fieger Law       $50,000.00         Class 5
                    Dubbs, Michael
       3410          and Stephanie     Stern Law PLLC      $50,000.00         Class 5
                     Duford, Randy
       3411             nd Lisa        Stern Law PLLC      $50,000.00         Class 5
                                        The Miller Law
       7835          Dukes, Charles          Firm          $50,000.00         Class 5
                                        The Miller Law
       7567          Dunlap, Shawn        Firm, P.C.       $50,000.00         Class 5
                                          Buckfire &
       6259          Durand, William    Buckfire, P.C.     $50,000.00         Class 5
                     Dust, Paul and
       5217             Geralyn           Fieger Law       $50,000.00         Class 5
                                          Buckfire &
       6109         Dymczyk, Diane       Buckfire, P.C.    $50,000.00         Class 5
                       Dymora,
       5220             Thomas            Fieger Law       $50,000.00         Class 5
                    Dzon, Terry and
       3413             Justine        Stern Law PLLC      $50,000.00         Class 5
       5278         Eastman, Sara J                        $20,000.00         Class 5



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       3414           Ebnit, Karen      Stern Law PLLC      $50,000.00        Class 5
                        Edenville
                        Township
      236219            Treasurer                             $56.08          Class 4
                        Edna M.         The Miller Law
       7127           Thomas Trust        Firm, P.C.        $50,000.00        Class 5
                                        The Miller Law
       7123            Elliott, Erin      Firm, P.C.        $50,000.00        Class 5
                                        The Miller Law
       7216            Elliott, Karin     Firm, P.C.        $50,000.00        Class 5
                      Elmy, Steven
       3457           and Shantele      Stern Law PLLC      $50,000.00        Class 5
                                         The Miller Law
       7539            Enders, Nila        Firm, P.C.       $50,000.00        Class 5
                      Engwis, David
       5223             and Cindy         Fieger Law        $50,000.00        Class 5
                                            Grant &
       8071           Erskine, Arika    Eisenhofer, P.A.    $50,000.00        Class 5
                      Ertman, Gary
       3458             and Valarie     Stern Law PLLC      $50,000.00        Class 5
                        Esckilsen,         Buckfire &
       6174               Jeffrey        Buckfire, P.C.     $50,000.00        Class 5
                         Espinoza,       The Miller Law
       7370              Marcelino         Firm, P.C.       $50,000.00        Class 5
       3459            Evans, Nova      Stern Law PLLC      $50,000.00        Class 5
                      Ewell, Charles
       5225             and Randy        Fieger Law         $50,000.00        Class 5
                                        The Miller Law
       7443          Fagan, Pamela        Firm, P.C.        $50,000.00        Class 5
                     Farber, Ed and
       3460             Krayndel        Stern Law PLLC      $50,000.00        Class 5
       5226          Farrand, Cathy       Fieger Law        $50,000.00        Class 5
                     Faust, William
       3462           and Kathleen      Stern Law PLLC      $50,000.00        Class 5
                                         The Miller Law
       7445            Fauver, Ron         Firm, P.C.       $50,000.00        Class 5
                                            Grant &
       8097         Fawcett, Nicole      Eisenhofer P.A     $50,000.00        Class 5
                    Federal Energy
                      Regulatory
       5515           Commission                           $15,000,000.00     Class 7
                        Federal
                       Insurance
       8259            Company                              $20,327.00        Class 4
                    Federer, Michille
       5227            and Scott          Fieger Law        $50,000.00        Class 5
                      Fejedelem,
                      Michael and
       5229              Diane            Fieger Law        $50,000.00        Class 5




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                       Fernandes,        The Miller Law
       7920              Cheryl            Firm, P.C.      $50,000.00         Class 5
       5232            Ferrin, Julie      Fieger Law       $50,000.00         Class 5
                                           Buckfire &
       6201          Finney, Kelsey      Buckfire, P.C.    $50,000.00         Class 5
                     Finzel, William     Johnson Law,
       6608            and Eileen             PLC          $50,000.00         Class 5
       8002           Firth, Leland     Dubin Law, PLLC    $50,000.00         Class 5
                         Fischer,        The Miller Law
       7481             Samantha           Firm, P.C.      $50,000.00         Class 5
                     Fisher-McPeak,      Johnson Law,
       6395               Janet               PLC          $50,000.00         Class 5
                                         The Miller Law
       7403            Fitak, Patrick      Firm, P.C.      $50,000.00         Class 5
                     Fix, Richard and
       5234               Denise          Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7663         Fleming, Tamara        Firm, P.C.      $50,000.00         Class 5
                      Flum, Susan
       5238            and Daniel         Fieger Law       $50,000.00         Class 5
       5241         Fogus, Kathleen       Fieger Law       $50,000.00         Class 5
                        Fondriest
                     Environmental,
      236248              Inc.                              $1,372.39         Class 4
       5239         Forester, Kynan       Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7240           Foster, Laura        Firm, P.C.      $50,000.00         Class 5
       5240           Fournier, Kim       Fieger Law       $50,000.00         Class 5
                     Foye, Julie and
       5244             Gregory           Fieger Law       $50,000.00         Class 5
                      Frankenmuth
                         Mutual
                       Insurance
       6004             Company         Cozen O’Connor    $1,034,496.18       Class 6
                                          Buckfire &
       6215           Franklin, Ruth     Buckfire, P.C.    $50,000.00         Class 5
                                          Buckfire &
       6134          Franks, Robert      Buckfire, P.C.    $50,000.00         Class 5
                                          Buckfire &
       6169           Frost, James       Buckfire, P.C.    $50,000.00         Class 5
                      Fry, Sue and
       5250             Thelmore          Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7418          Fryzelka, Paige       Firm, P.C.      $50,000.00         Class 5
       5252            Fuller, Scott      Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7493         Gagnon, Russell        Firm, P.C.      $50,000.00         Class 5
                      Gallagher,         The Miller Law
       7632             Trisha             Firm, P.C.      $50,000.00         Class 5




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                                         The Miller Law
       7217          Gallant, Jerilyn      Firm, P.C.      $50,000.00         Class 5
                      Gallimore,
                        Richard
                     Gallimore and
       3418               Lois            Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7781         Gapske, Beverly        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7784          Gardner, Bryan        Firm, P.C.      $50,000.00         Class 5
                       Garman,           The Miller Law
       7170            Kathleen            Firm, P.C.      $50,000.00         Class 5
       3424          Gartung, Kevin       Fieger Law       $50,000.00         Class 5
                      Gaudreau,
       8022              Karen          Dubin Law, PLLC    $20,617.00         Class 5
       3470            Gay, Betty       Stern Law PLLC     $50,000.00         Class 5
                     Gehrls, Vernon
       3427           and Martha          Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7643           Geiger, Tony         Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7708           Geiger, Tony         Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7101          Geiling, James        Firm, P.C.      $50,000.00         Class 5
                    Getgood, James
       3473            and Vicki        Stern Law PLLC     $50,000.00         Class 5
                    Gibson, Jeffrey
       3432         and Mary-Grace        Fieger Law       $50,000.00         Class 5
                       Giedrocz,
                      Andrew and
       3475               Ruth          Stern Law PLLC     $50,000.00         Class 5
                                         The Miller Law
       7831           Gilles, Andrew       Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7631          Gilvydis, Sylvia      Firm, P.C.      $50,000.00         Class 5
                                         Johnson Law,
       6556         Ginardi, Brian M.         PLC          $50,000.00         Class 5
                     Ginter, Michael
       3477            and Peggy        Stern Law PLLC     $50,000.00         Class 5
                    Gladwell, Marian
       3422            and Daniel         Fieger Law       $50,000.00         Class 5
                        Gleason,         The Miller Law
       7536             Roxanne            Firm, P.C.      $50,000.00         Class 5
       3479          Goheen, Janet      Stern Law PLLC     $50,000.00         Class 5
                      Gomez and
                        Sullivan
                       Engineers,       Harter Secrest &
        407              D.P.C.           Emery LLP        $193,814.26        Class 4
                                        Nichols Kaster,
       8155           Good, Arthur           PLLP          $50,000.00         Class 5



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                                        The Miller Law
       7444         Goodall, Michael      Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7245          Gormley, Leland      Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7377          Gorthy, Michael      Firm, P.C.       $50,000.00         Class 5
                       Goschke,         The Miller Law
       7866              Debbie           Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7877           Goul, Dennis        Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7382            Gould, Ruby        Firm, P.C.       $50,000.00         Class 5
                      Grakauskas,
                      Kenneth and
       3482               Patricia      Stern Law PLLC     $50,000.00         Class 5
                     Great American
                     E&S Insurance
                     Company a/s/o      Nielsen, Zehe &
        796          Fifth Third Bank     Antas, P.C.      $34,651.17         Class 6
                     Great American
                     E&S Insurance
                     Company a/s/o      Nielsen, Zehe &
       1921          Fifth Third Bank     Antas, P.C.      $121,907.00        Class 6
                     Great American
                     E&S Insurance
                      Company aso       Nielsen Zehe &
        798                Celink         Antas, P.C.      $33,086.57         Class 6
                     Great American
                     E&S Insurance
                      Company aso       Nielsen, Zehe &
        797              Chemical         Antas, P.C.      $241,735.21        Class 6
                     Great American
                     E&S Insurance
                      Company aso       Nielsen, Zehe &
        799              Chemical         Antas, P.C.      $94,610.00         Class 6
                     Great American
                         Insurance
                       Company of
       6016              New York       Cozen O’Connor     $345,559.38        Class 6
                          Greaves
      236252          Trucking, Inc.                        $5,604.00         Class 4
       5064          Greblo, Harold       Fieger Law       $50,000.00         Class 5
       5995          Gregory, Peter       Fieger Law       $50,000.00         Class 5
       3484             Gricar, Joel    Stern Law PLLC     $50,000.00         Class 5
                          Grieman,       The Miller Law
       7785            Christopher         Firm, P.C.      $50,000.00         Class 5
                          Griessel,
                       Gregory and
       3485               Christine     Stern Law PLLC     $50,000.00         Class 5




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                      Griffin, Cheryl
                       Griffin and
       5094              Michael          Fieger Law        $50,000.00         Class 5
                                         The Miller Law
       7494          Griffin, Patricia     Firm, P.C.       $50,000.00         Class 5
                     Gross, Frank
       3487            and Cindy         Stern Law PLLC     $50,000.00         Class 5
                          Gross,
       3488           Rosemarie          Stern Law PLLC     $50,000.00         Class 5
                                            Buckfire &
       6097          Grover, Gloria       Buckfire, P.C.    $50,000.00         Class 5
                    Guentensberger,
                      Rachel and
       5097            Ronald II           Fieger Law       $50,000.00         Class 5
                      Guernsey,          The Miller Law
       7562             Sharon              Firm, P.C.      $50,000.00         Class 5
                                         Nichols Kaster,
       8153          Gulliver, Gerald         PLLP          $50,000.00         Class 5
                                             Grant &
       8124          Gunden, John        Eisenhofer, P.A.   $50,000.00         Class 5
                     Guzman, Victor
       3491           and Heather        Stern Law PLLC     $50,000.00         Class 5
                       Hackworth,
                      Elizabeth and
       5098              Edward            Fieger Law       $50,000.00         Class 5
                                             Grant &
       8065          Haines, Amy         Eisenhofer, P.A.   $50,000.00         Class 5
                    Hall Jr., Terrance   The Miller Law
       7587                  A.             Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7368           Hall, MariBeth        Firm, P.C.      $50,000.00         Class 5
                      Halliday, Joel
       5296            and Debbie         Fieger Law        $50,000.00         Class 5
                                         The Miller Law
       7433         Hamilton, Nancy        Firm, P.C.       $50,000.00         Class 5
                      Hammond
                       Drives &
        10            Equipment                               $662.35          Class 4
                      Hammond,
                     Thomas and
       5116            Jean L.             Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7649         Hancock, Tammi         Firm, P.C.       $50,000.00         Class 5
                                         The Miller Law
       7917           Harris, Ann E.       Firm, P.C.       $50,000.00         Class 5
                                         Cohen Milstein
                                          Sellers & Toll
       6321            Harris, Scott          PLLC          $50,000.00         Class 5
                                         The Miller Law
       7104            Hart, Glenn         Firm, P.C.       $50,000.00         Class 5



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       3496            Hart, Marc       Stern Law PLLC     $50,000.00         Class 5
                        Hartman,
                      Kimberly and
       5123             Matthew           Fieger Law       $50,000.00         Class 5
                        Hartwick,
       5134             Elizabeth         Fieger Law       $50,000.00         Class 5
                      Hay Township
      236220           Treasurer                             $361.54          Class 4
                                          Buckfire &
       6117            Head, Frank      Buckfire, P.C.     $50,000.00         Class 5
                                        The Miller Law
       8028          Heath, Dorinda       Firm, P.C.       $50,000.00         Class 5
                     Hedrich, Cindy
       5138            and Jerry          Fieger Law       $50,000.00         Class 5
       3498           Heinz, Britt      Stern Law PLLC     $50,000.00         Class 5
                      Helfrecht Jr.,     The Miller Law
       7690              Arthur            Firm, P.C.      $50,000.00         Class 5
                      Helfrecht Jr.,     The Miller Law
       7864              Arthur            Firm, P.C.      $50,000.00         Class 5
                      Hellebuyck,        The Miller Law
       7888              David             Firm, P.C.      $50,000.00         Class 5
                      Hellebuyck,        The Miller Law
       7158             Duane              Firm, P.C.      $50,000.00         Class 5
       5149          Helm, Kenneth        Fieger Law       $50,000.00         Class 5
                      Henderson,
       3499             Briana          Stern Law PLLC     $50,000.00         Class 5
                                            Grant &
       8089          Henry, Hannah      Eisenhofer, P.A.   $50,000.00         Class 5
                                         The Miller Law
       7399           Herkner, Mary        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7676           Herkner, Mary        Firm, P.C.      $50,000.00         Class 5
                       Hernandez,
       3502               Jose          Stern Law PLLC     $50,000.00         Class 5
                                         The Miller Law
       7556            Herst, Mary         Firm, P.C.      $50,000.00         Class 5
       5129         Hilbrandt, Cheryl     Fieger Law       $50,000.00         Class 5
                        Hilbrandt,
                       Ronald and
       5133              Sharon           Fieger Law       $50,000.00         Class 5
                      Hildebrandt,
       5135          Marc and Lori        Fieger Law       $50,000.00         Class 5
       5139         Hilgendorf, Ann       Fieger Law       $50,000.00         Class 5
                      Hill, Douglas
       5146            and Stacey         Fieger Law       $50,000.00         Class 5
                                        The Miller Law
       7280             Hill, Karen       Firm, P.C.       $50,000.00         Class 5
                                            Grant &
       8113            Hilliard, Lisa   Eisenhofer P.A     $50,000.00         Class 5




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                         Hiscox
                       Syndicates
       6013             Limited        Cozen O’Connor      $20,550.25         Class 6
                                        The Miller Law
       7174           Hodge, Jeri         Firm, P.C.       $50,000.00         Class 5
       4548          Hodges, David     Stern Law PLLC      $50,000.00         Class 5
                                        The Miller Law
       7907          Hoffman, David       Firm, P.C.       $50,000.00         Class 5
                       Hogenson,
       5155           David and Jill     Fieger Law        $50,000.00         Class 5
                                        The Miller Law
       7913          Hoggard, Diane       Firm, P.C.       $50,000.00         Class 5
                       Hohensee,
       5158              Thomas          Fieger Law        $50,000.00         Class 5
       3508          Holland, David    Stern Law PLLC      $50,000.00         Class 5
                       Hollenbeck,         Grant &
       8088               Farrah       Eisenhofer, P.A.    $50,000.00         Class 5
                     Holley, Thomas
       5161           and Katherine       Fieger Law       $50,000.00         Class 5
                     Holman, Brenda
       3509            and Donald      Stern Law PLLC      $50,000.00         Class 5
                         Homan,
                      Jonathan and
       7970               Paige      Dubin Law, PLLC       $50,000.00         Class 5
                                      The Miller Law
       7546           Hoover, Ruhl      Firm, P.C.         $50,000.00         Class 5
                                      The Miller Law
       7635          Hopp, William      Firm, P.C.         $50,000.00         Class 5
                                      The Miller Law
       7136         Horton, Douglas     Firm, P.C.         $50,000.00         Class 5
       5162         Hosford, Richard   Fieger Law          $50,000.00         Class 5
       5286         Hoskins, Bobbie    Fieger Law          $50,000.00         Class 5
       5184         Hoskins, Tabitha   Fieger Law          $50,000.00         Class 5
                     Houk, Eric and
       3512              Lynette     Stern Law PLLC        $50,000.00         Class 5
                        Houston,         Grant &
       8068            Bernadean     Eisenhofer, P.A.      $50,000.00         Class 5
                    Howe, Lyle and
       3514            Mary Jane     Stern Law PLLC        $50,000.00         Class 5
       5185          Howe, Norma       Fieger Law          $50,000.00         Class 5
                        Huckins,
       5191             Barbara        Fieger Law          $50,000.00         Class 5
       5194         Hughes, Howard     Fieger Law          $50,000.00         Class 5
       6020           Hulett, Clyde    Fieger Law          $50,000.00         Class 5
                      Humphreys,      The Miller Law
       7483             Michael         Firm, P.C.         $50,000.00         Class 5
       3519          Hunt, Beatrice  Stern Law PLLC        $50,000.00         Class 5
                                        Buckfire &
       6192          Huntley, Mary    Buckfire, P.C.       $50,000.00         Class 5




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                    Huntoon, Robert
       5732           and Evelyn           Fieger Law      $50,000.00         Class 5
                    Hurley, Bill and
       3520               Jill           Stern Law PLLC    $50,000.00         Class 5
                      Hurst, Mary
       3521              Ellen             Stern Law       $50,000.00         Class 5
                                         The Miller Law
       7448          Hynds, Ronald         Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7812          Iafrate, Anthony      Firm, P.C.      $50,000.00         Class 5
                                           Buckfire &
       6238           Ingles, Shawn      Buckfire, P.C.    $50,000.00         Class 5
                    Ingold, John and     Johnson Law,
       6433                Renee              PLC          $50,000.00         Class 5
                           IPFS
      236259            Corporation                        $25,665.00         Class 4
                      Ireland, Lance
       4958           and Consuela         Fieger Law      $50,000.00         Class 5
                     Irish, Lynn Irish
       4962              and Micky        Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7308           Irwin, Joseph        Firm, P.C.      $50,000.00         Class 5
                       J.E.M Fluid
      236260            Power, Inc.                         $1,137.71         Class 4
                                         The Miller Law
       7766          Jacobs, Daniel        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7577          James, Tommie         Firm, P.C.      $50,000.00         Class 5
                                           Buckfire &
       6084          Jamrog, Andrea      Buckfire, P.C.    $50,000.00         Class 5
                       Jankowsky,        The Miller Law
       7583              Verona            Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7446            Janks, Misty        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7548          Jerabek, Peter        Firm, P.C.      $50,000.00         Class 5
                        Jerome
                       Township
      236221           Treasurer                            $4,995.71         Class 4
                                         The Miller Law
       7130           Jeske, Frank         Firm, P.C.      $50,000.00         Class 5
                       Jesselaitis,
       4968              Joseph           Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7850         Jewett, Christina      Firm, P.C.      $50,000.00         Class 5
                                           Buckfire &
       6212           Jinks, Russell     Buckfire, P.C.    $50,000.00         Class 5
                      Jodts, Richard
       4970             and Gloria         Fieger Law      $50,000.00         Class 5




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                     John D Surfus       Nichols Kaster,
       8152          Enterprise Inc.         PLLP           $50,000.00         Class 5
                      John Surfus
                     Rental Account      Nichols Kaster,
       8159               Inc.               PLLP           $50,000.00         Class 5
                                         The Miller Law
       7068          Johns, Dorothy        Firm, P.C.       $50,000.00         Class 5
                                         The Miller Law
       7264          Johnson, Janet        Firm, P.C.       $50,000.00         Class 5
                                         The Miller Law
       7688          Johnson, Janet        Firm, P.C.       $50,000.00         Class 5
                        Johnson,
       4974              Jennifer          Fieger Law       $50,000.00         Class 5
                    Johnson, Robert
       6030            and Helen           Fieger Law       $50,000.00         Class 5
                                             Grant &
       8137          Johnson, Victor     Eisenhofer P.A     $50,000.00         Class 5
                        Johnston
      236261         Contracting, Inc.                       $4,937.22         Class 4
       3525           Jones, Jodie       Stern Law PLLC     $50,000.00         Class 5
                        Jozwiak,          The Miller Law
       7869              Dolores            Firm, P.C.      $50,000.00         Class 5
                                           Bolton Legal
        755           Kacel, Karl             Group         $50,000.00         Class 5
                      Kaden, Inc.
                     d/b/a Sanford       The Miller Law
       7228          Hardware, LLC         Firm, P.C.       $50,000.00         Class 5
                                         The Miller Law
       7200           Kaiser, Joan         Firm, P.C.       $50,000.00         Class 5
                       Kalinowski,
                      Kenneth and
       3528              Diane           Stern Law PLLC     $50,000.00         Class 5
                                          The Miller Law
       7294           Kamena, Karl          Firm, P.C.      $50,000.00         Class 5
                     Kaminski, John       Johnson Law,
       6619            and Diane               PLC          $50,000.00         Class 5
                                          The Miller Law
       7242          Kapplinger, Karl       Firm, P.C.      $50,000.00         Class 5
                                         Cohen Milstein
                     Karoumi, Azhar        Sellers & Toll
       6328            and Emad                PLLC         $14,275.00         Class 5
                                          The Miller Law
       7427             Kastl, Pat          Firm, P.C.      $50,000.00         Class 5
       3536           Kaur, Daljeet      Stern Law PLLC     $50,000.00         Class 5
                       Kay Vescio         The Miller Law
       7295          Revocable Trust        Firm, P.C.      $50,000.00         Class 5
                      Kaylor, Jeffrey
       3537             and Amy          Stern Law PLLC     $50,000.00         Class 5
                       Kelley, Creig
       3538           and Katherine      Stern Law PLLC     $50,000.00         Class 5



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                        Kemerer,
       3541             Michael         Stern Law PLLC     $50,000.00         Class 5
                       Kennedy,
                      Kenneth and
       3542             Annette         Stern Law PLLC     $50,000.00         Class 5
                    Kennedy, Patrick
       5000            and Debra          Fieger Law       $50,000.00         Class 5
                     Kennedy, Ruth
       5007            and David         Fieger Law        $50,000.00         Class 5
                       Kennedy,         The Miller Law
       7664             Thomas            Firm, P.C.       $50,000.00         Class 5
       5011         Kessler, Gregory     Fieger Law        $50,000.00         Class 5
                                        The Miller Law
       7473          Keyes, Robert        Firm, P.C.       $50,000.00         Class 5
                     Kilbreath, Floyd
       5016              and Mary         Fieger Law       $50,000.00         Class 5
                      Kinasz, Mary
       5020             and Jeffery       Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7252            King, Jerry         Firm, P.C.      $50,000.00         Class 5
       5302            King, Jess         Fieger Law       $50,000.00         Class 5
       3544           King, Sandra      Stern Law PLLC     $50,000.00         Class 5
                                         The Miller Law
       7338          Kinkema, John         Firm, P.C.      $50,000.00         Class 5
                     Kinsman, Linda
       4939          and Christopher     Fieger Law        $50,000.00         Class 5
                                        The Miller Law
       7699          Kitchen, Estey       Firm, P.C.       $50,000.00         Class 5
                     Kivi, Dave and
       3547              Wendy          Stern Law PLLC     $50,000.00         Class 5
                                         The Miller Law
       7090          Klass, Elizabeth      Firm, P.C.      $50,000.00         Class 5
                       Klawender,
       4943               Karin           Fieger Law       $50,000.00         Class 5
                     Kleinsorge, Liz     Johnson Law,
       6534              and Eric            PLC           $50,000.00         Class 5
                                           Buckfire &
       6249           Klich, Susan       Buckfire, P.C.    $50,000.00         Class 5
                      Kline, Walter
       3548           and Rebecca       Stern Law PLLC     $50,000.00         Class 5
                                         Johnson Law,
       2791         Klonowski, Jerry          PLC          $50,000.00         Class 5
                      Klott, Dennis
       3563          and Deborah        Stern Law PLLC     $50,000.00         Class 5
       3549         Knight, Zachary     Stern Law PLLC     $50,000.00         Class 5
                         Koch,
                    Christopher and
       3551             Jeanette        Stern Law PLLC     $50,000.00         Class 5
                    Kocsis, Paul and
       4947             Dorothy           Fieger Law       $50,000.00         Class 5



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                                          The Miller Law
       7814            Kolka, Carla         Firm, P.C.     $50,000.00         Class 5
                                          The Miller Law
       7887            Kott, Diane          Firm, P.C.     $50,000.00         Class 5
       3553          Kovach, Wade        Stern Law PLLC    $50,000.00         Class 5
                     Kozubal, James
       3554           and Barbara        Stern Law PLLC    $50,000.00         Class 5
                        Kraemer,
                      Charles and
       4951              Nancy            Fieger Law       $50,000.00         Class 5
       4950            Krafft, Eric       Fieger Law       $50,000.00         Class 5
                      Kragenbrink,       The Miller Law
       7081              James             Firm, P.C.      $50,000.00         Class 5
                      Krajkiewicz,       The Miller Law
       7880              Donald            Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7432          Kramer, Nicole        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7646          Krause, Wendy         Firm, P.C.      $50,000.00         Class 5
                        Krawczak,        The Miller Law
       7848               Daniel           Firm, P.C.      $50,000.00         Class 5
                     Kreager, Harold
       3555           and Mary Jo        Stern Law PLLC    $50,000.00         Class 5
                     Kriebel, Brooke     Rasor Law Firm,
       6047            and Jeffrey            PLLC         $268,551.46        Class 5
                       Kubik, Erik
                        Kubik and
       5028              Lonnie            Fieger Law      $50,000.00         Class 5
                                         The Miller Law
       7490            Kuehl, Mark          Firm, P.C.     $50,000.00         Class 5
                                             Grant &
       8066          Kukla, Charlotte    Eisenhofer, P.A   $50,000.00         Class 5
                                         The Miller Law
       7142            Kukla, Holly         Firm, P.C.     $50,000.00         Class 5
       5032           Kunish, Wade         Fieger Law      $50,000.00         Class 5
                     Kussro, Kip and
       5034               Wendy            Fieger Law      $50,000.00         Class 5
                     Kwater, Joseph
       5035           and Rebecca         Fieger Law       $50,000.00         Class 5
                         LaBrenz,        The Miller Law
       7509              Richard           Firm, P.C.      $50,000.00         Class 5
                      Lafollette, Bill   Johnson Law,
       6575             and Linda             PLC          $50,000.00         Class 5
                       Lamb, Bruce
       5037           and Charlene         Fieger Law      $50,000.00         Class 5
                      Lambert, Fred
       4012             and Tonya        Stern Law, PLLC   $50,000.00         Class 5
                      Laplow, Justin
       4863             and Caitlyn        Fieger Law      $50,000.00         Class 5




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                                          Johnson Law,
       6591             Larkin, Jill          PLC           $50,000.00         Class 5
                        Larocque,
       4865             Chadwick            Fieger Law      $50,000.00         Class 5
                                          The Miller Law
       7560          Laszlo, Carlene        Firm, P.C.      $50,000.00         Class 5
                                          The Miller Law
       7884          Laszlo, Dennis            Firm         $50,000.00         Class 5
       4014          Latarte, David      Stern Law, PLLC    $50,000.00         Class 5
                                              Grant &
       8077           Latarte, Dolly     Eisenhofer, P.A.   $50,000.00         Class 5
                                         The Miller Firm,
       7352           Lather, John             P.C.         $50,000.00         Class 5
       4015          Lathon, Paster      Stern Law, PLLC    $50,000.00         Class 5
                       Latowski,
       4016             Stanley          Stern Law, PLLC    $50,000.00         Class 5
                                          The Miller Law
       7801           Law, Bethany          Firm, P.C.      $50,000.00         Class 5
                     Lawson, Joseph
       4018            and Marie         Stern Law, PLLC    $50,000.00         Class 5
                                          The Miller Law
       7224          LeBlanc, Larry         Firm, P.C.      $50,000.00         Class 5
                                          Johnson Law,
       6594            Lee, Robert             PLC          $50,000.00         Class 5
                      Lee, Ryan Lee
       4019             and Alanna       Stern Law, PLLC    $50,000.00         Class 5
                          Legacy,
                       Christine and
       4872               Frank Jr.         Fieger Law      $50,000.00         Class 5
       4020          Legrande, Linda     Stern Law, PLLC    $50,000.00         Class 5
       4874            Leigeb, Jory         Fieger Law      $50,000.00         Class 5
       4875           Leigeb, Robert        Fieger Law      $50,000.00         Class 5
                     Lemieur, James
       4878               and Lisa         Fieger Law       $50,000.00         Class 5
                       Lesperance,        The Miller Law
       7809                Clifford         Firm, P.C.      $50,000.00         Class 5
                      Levely, Timmy
       4885          and Kathy Lynn        Fieger Law       $50,000.00         Class 5
                      Lewis, Dennis
       4256             and Anedra       Stern Law, PLLC    $50,000.00         Class 5
                      Liberty Mutual
                         Insurance
       6009              Company         Cozen O’Connor     $387,832.31        Class 6
                                          The Miller Law
       7147          Licquia, Gerald        Firm, P.C.      $50,000.00         Class 5
                     Liebetreu, Kevin
       4887             and Cheryl         Fieger Law       $50,000.00         Class 5
        4             LI'L Willies Inc                       $790.00           Class 4
                                             Grant &
       8136           Lincoln, Scott     Eisenhofer, P.A.   $50,000.00         Class 5



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                                         The Miller Law
       7741          Lindgren, Aaron       Firm, P.C.      $50,000.00         Class 5
                      Lindman, Amy
                      and Naismith,
       4021               Anthony        Stern Law, PLLC   $50,000.00         Class 5
                       Little, James
       4022           and Rosanne        Stern Law, PLLC   $50,000.00         Class 5
                                          The Miller Law
       1440           Little, Kathy A.      Firm, P.C.        $0.00           Class 5
                     LL Accounting &      The Miller Law
       7335                  Tax            Firm, P.C.     $50,000.00         Class 5
                     Loduca, James
       4023                and Jill      Stern Law, PLLC   $50,000.00         Class 5
                          Lofgren,
       4257               Kimberly       Stern Law, PLLC   $50,000.00         Class 5
                         Logsdon,         The Miller Law
       7439                Michael          Firm, P.C.     $50,000.00         Class 5
                                          The Miller Law
       7398            Lollar, Mark         Firm, P.C.     $50,000.00         Class 5
                       Longstreth,
       4258              Carolyn         Stern Law, PLLC   $50,000.00         Class 5
                       Longstreth,        The Miller Law
       7685             Christine           Firm, P.C.     $50,000.00         Class 5
                       Longstreth,        The Miller Law
       7799             Christine           Firm, P.C.     $50,000.00         Class 5
                                            Buckfire &
       6072         Loomis, Barbara       Buckfire, P.C.   $50,000.00         Class 5
                         Loose,           The Miller Law
       7782           Christopher           Firm, P.C.     $50,000.00         Class 5
       4892           Lopez, Anita          Fieger Law     $50,000.00         Class 5
                     Lot 161 Rental       The Miller Law
       7332               LLC               Firm, P.C.     $50,000.00         Class 5
      236266             Lowe's                             $739.00           Class 4
                                         The Miller Law
       7110            Luce, Gloria        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7787          Luplow, Barbara       Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7484          Luptowski, Rob        Firm, P.C.      $50,000.00         Class 5
                     Lurins, Eric and
       4896              Tammy             Fieger Law      $50,000.00         Class 5
                      Lynch, Donald
       4898             and Mary            Fieger Law     $50,000.00         Class 5
                                          Pitt, McGehee,
                                         Palmer, Bonanni
       7064          Lyons, Barbara        & Rivers PC     $50,000.00         Class 5
                                          The Miller Law
       7774          Lyons, Belinda          Firm, P.C.    $50,000.00         Class 5
       4899          Lyons, Richard         Fieger Law     $50,000.00         Class 5




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                                        Olsman,
                                      MacKenzie,
                      M., Boundy,      Peacock &
       6632         Brad and Salena     Wallace            $50,000.00         Class 5
       8016         Macauley, Mary Dubin Law, PLLC         $50,000.00         Class 5
                       Machelski,    The Miller Law
       7751             Brenda         Firm, P.C.          $50,000.00         Class 5
                                     The Miller Law
       7181         Mack, Jesse Lee    Firm, P.C.          $50,000.00         Class 5
                    Macomber, Keith  Johnson Law,
       6457            and Jean           PLC              $50,000.00         Class 5
                       Madison,        Buckfire &
       6122             Kenneth      Buckfire, P.C.        $50,000.00         Class 5
                        Magnum
                      Construction
      236267         Company, Inc.                           $841.50          Class 4
                    Malecki, Robert
       4262          and Michaele   Stern Law, PLLC        $50,000.00         Class 5
                      Maliszewski,   Johnson Law,
       6484         Alan and Kathy        PLC              $50,000.00         Class 5
                                     The Miller Law
       7637          Malkin, Steve     Firm, P.C.          $50,000.00         Class 5
                    Manelis, Joseph
       5256            and Mary        Fieger Law          $50,000.00         Class 5
                       Mangino,          Grant &
       5474             Anthony     Eisenhofer, P.A.       $50,000.00         Class 5
                                     The Miller Law
       7328          Manwell, Lisa     Firm, P.C.          $50,000.00         Class 5
                                     The Miller Law
       7709          Manwell, Lisa     Firm, P.C.          $50,000.00         Class 5
                                     The Miller Law
       7619         Manwell, Zenith    Firm, P.C.          $50,000.00         Class 5
                      Mark, Ashley   The Miller Law
       7819              Vande         Firm, P.C.          $50,000.00         Class 5
                                       Buckfire &
       6089          Martin, Denzel  Buckfire, P.C.        $50,000.00         Class 5
                                     The Miller Law
       7895          Martin, Donald    Firm, P.C.          $50,000.00         Class 5
                                       Buckfire &
       6253          Martin, Yvonne  Buckfire, P.C.        $50,000.00         Class 5
                       Martinez,     Johnson Law,
       6522            Alexandra          PLC              $50,000.00         Class 5
                                     The Miller Law
       7194          Mason, Joyce      Firm, P.C.          $50,000.00         Class 5
                      Master-Jun,
       5249            Margaret        Fieger Law          $50,000.00         Class 5
                                       Buckfire &
       6207          Mathis, Robert  Buckfire, P.C.        $50,000.00         Class 5
       5246         Matthes, Tawse     Fieger Law          $50,000.00         Class 5




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                     Matthess, Mary
       5243          and Christopher       Fieger Law      $50,000.00         Class 5
                                         Cohen Milstein
                      Matthew Z.          Sellers & Toll
       6332          McQuaid Trust            PLLC         $126,377.78        Class 5
                                           Buckfire &
       6214          Maxwell, Phillip    Buckfire, P.C.    $50,000.00         Class 5
                                         The Miller Law
       7505          Maxwell, Robert       Firm, P.C.      $50,000.00         Class 5
                                           Buckfire &
       6073             May, Asa         Buckfire, P.C.    $50,000.00         Class 5
                                         The Miller Law
       7244          Mayer, Jennifer       Firm, P.C.      $50,000.00         Class 5
                       McArdle,
       5008            Suzanna            Fieger Law       $50,000.00         Class 5
                       McBride,
       7935             Patricia        Dubin Law, PLLC    $50,000.00         Class 5
                                           Buckfire &
       6270           McCoy, Alene       Buckfire, P.C.    $50,000.00         Class 5
                                         The Miller Law
       7379          McCoy, Robert         Firm, P.C.      $50,000.00         Class 5
                      McCreadie,
       5242              Violet           Fieger Law       $50,000.00         Class 5
                      McDaniels,
                      Peggy and
       4242             Robert            Fieger Law       $50,000.00         Class 5
                      McDonald,
       4243             Agnes             Fieger Law       $50,000.00         Class 5
                    McDonald, Floyd
       4244            and Carol          Fieger Law       $50,000.00         Class 5
                      McDonald,
       4245             Robert            Fieger Law       $50,000.00         Class 5
                       McGarry,
                      Norman and
       4246             Patricia          Fieger Law       $50,000.00         Class 5
                       McGinnis,
       4247         Robert and April      Fieger Law       $50,000.00         Class 5
                                        The Miller Law
       7195          McGuire, John         Firm, P.C.      $50,000.00         Class 5
                       McIntyre,            Grant &
       8101              Melanie        Eisenhofer, P.A.   $50,000.00         Class 5
                       McKinstry,       The Miller Law
       7669              Terese            Firm, P.C.      $50,000.00         Class 5
                      McLaughlin,
       4250         Joyce and Tony         Fieger Law      $50,000.00         Class 5
                      McLaughlin,        Nichols Kaster,
       8157         Katrina and Paul          PLLP         $50,000.00         Class 5
                                         Johnson Law,
       2299           McLaughlin's            PLC          $50,000.00         Class 5




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                       McManus,          The Miller Law
       7815              Bonnie            Firm, P.C.      $50,000.00         Class 5
                     McMullen, Ryan
       4266            and Valerie       Stern Law, PLLC   $50,000.00         Class 5
                                          The Miller Law
       7106          McNally, Henry         Firm, P.C.     $50,000.00         Class 5
                                          The Miller Law
       7114          McNutt, James          Firm, P.C.     $50,000.00         Class 5
                      McPherson,          The Miller Law
       7929             Daniel              Firm, P.C.     $50,000.00         Class 5
                     Medler Electric
       8037            Company           Fegan Scott LLC   $50,000.00         Class 5
                                          The Miller Law
       7275            Meitler, Lee         Firm, P.C.     $50,000.00         Class 5
                                          The Miller Law
       7385          Meitler, Michelle      Firm, P.C.     $50,000.00         Class 5
                                          The Miller Law
       7103           Melchi, James         Firm, P.C.     $50,000.00         Class 5
                                          The Miller Law
       7779          Merillat, Anna         Firm, P.C.     $50,000.00         Class 5
                       Merryman,          The Miller Law
       7393             Michael             Firm, P.C.     $50,000.00         Class 5
                       Merryman,          The Miller Law
       7609              Teresa             Firm, P.C.     $50,000.00         Class 5
       6019           Mertes, Judy         Fieger Law      $50,000.00         Class 5
                     Mertke, Shirley
       4267           and Donald         Stern Law, PLLC   $50,000.00         Class 5
                       Messisco,          The Miller Law
       7183             Kimberly            Firm, P.C.     $50,000.00         Class 5
                                          The Miller Law
       7778         Methner, Connie         Firm, P.C.     $50,000.00         Class 5
                                          The Miller Law
       7087          Meyer, Ingeborg        Firm, P.C.     $50,000.00         Class 5
       5236           Meyer, Lisa           Fieger Law     $50,000.00         Class 5
                                          The Miller Law
       7579           Meyer, Trudy          Firm, P.C.     $50,000.00         Class 5
                                          The Miller Law
       7312          Meyers, Kristi         Firm, P.C.     $50,000.00         Class 5
                         Michigan
                        Insurance
       8142             Company                            $244,348.13        Class 6
                     Miclea, Cristian
       4255           and Michelle         Fieger Law      $50,000.00         Class 5
       4220          Miclea, Joshua        Fieger Law      $50,000.00         Class 5
                       Middleton,
       4221               Delbert         Fieger Law       $50,000.00         Class 5
                     Midland Center      The Miller Law
       7520            for the Arts        Firm, P.C.      $50,000.00         Class 5
                     Midland Public      The Miller Law
       7406              Schools           Firm, P.C.      $50,000.00         Class 5



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                      Mid-Michigan
                     Repair Service       The Miller Law
       7720                Inc              Firm, P.C.      $50,000.00         Class 5
      236268         Midstate Rental                         $128.55           Class 4
                                          The Miller Law
       7757          Mieske, Daniel         Firm, P.C.      $50,000.00         Class 5
                     Mikkola, James
       4272            and Robin         Stern Law, PLLC    $50,000.00         Class 5
                                          Johnson Law,
       6607            Millar, Kristi          PLC          $50,000.00         Class 5
                                             Grant &
       8070          Miller, Brandon     Eisenhofer, P.A.   $50,000.00         Class 5
                     Miller, Chris and   Rasor Law Firm,
       6059                 Terry             PLLC          $112,365.63        Class 5
       8061          Miller, Deborra                        $50,000.00         Class 5
                      Miller, Donald
       4273          Miller and Carol    Stern Law, PLLC    $50,000.00         Class 5
                                          Johnson Law,
       6497           Miller, Gary             PLC          $50,000.00         Class 5
                      Miller, James
       4223          and Constance         Fieger Law       $50,000.00         Class 5
                                          The Miller Law
       7342            Mills, Lonny         Firm, P.C.      $50,000.00         Class 5
       4226           Mitchell, Carol      Fieger Law       $50,000.00         Class 5
                                          The Miller Law
       7908          Mitchell, Daniel       Firm, P.C.      $50,000.00         Class 5
                                          The Miller Law
       7078          Mitchell, Hazel           Firm         $50,000.00         Class 5
                                          The Miller Law
       7498         Mitchell, Richard          Firm         $50,000.00         Class 5
                                            Buckfire &
       6239          Mitchell, Wayne      Buckfire, P.C.    $50,000.00         Class 5
       4228           Mobley, Sean         Fieger Law       $50,000.00         Class 5
                     Moeggenberg,         The Miller Law
       7599             Suzanne             Firm, P.C.      $50,000.00         Class 5
                          Mohn,
       4984            Christopher         Fieger Law       $50,000.00         Class 5
                      Mohowitsch,
       4316          Sara and Adam       Stern Law, PLLC    $50,000.00         Class 5
                                          The Miller Law
       7429           Moll, Norman          Firm, P.C.      $50,000.00         Class 5
                                            Buckfire &
       6121           Monroe, John        Buckfire, P.C.    $50,000.00         Class 5
                      Montgomery,           Buckfire &
       6148              John             Buckfire, P.C.    $50,000.00         Class 5
       4317           Montney, Tim       Stern Law, PLLC    $50,000.00         Class 5
                                          The Miller Law
       7525          Moon, Patrick          Firm, P.C.      $50,000.00         Class 5
                    Moore, Brett and
       5167          Tamara Clark          Fieger Law       $50,000.00         Class 5



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                     Moore, Jordan
       4964            and Mac            Fieger Law       $50,000.00         Class 5
                                         The Miller Law
       7867          Moreau, Denise        Firm, P.C.      $50,000.00         Class 5
                       Morrison,
                     Wayne "Larry"
       4320           and Barbara       Stern Law, PLLC    $50,000.00         Class 5
                                         The Miller Law
       7435          Mosher, Ronald        Firm, P.C.      $50,000.00         Class 5
                       Muirhead,
                      Barbara and
       4952            Charles II         Fieger Law       $50,000.00         Class 5
                      Mulholland,
       4321             Wayne           Stern Law, PLLC    $50,000.00         Class 5
                                         The Miller Law
       7893          Murphy, Donna         Firm, P.C.      $50,000.00         Class 5
                     Murphy, Harold
       4845             and Lori          Fieger Law       $50,000.00         Class 5
                                            Grant &
       8135         Murphy, Timothy     Eisenhofer, P.A.   $50,000.00         Class 5
                    Mussell, Robert       Giroux Trial
       6717            and Joy           Attorneys, PC     $128,992.86        Class 5
                     Musselman,         The Miller Law
       7423             Mark               Firm, P.C.      $50,000.00         Class 5
                                            Grant &
       8131          Musulin, Milan     Eisenhofer P.A.    $50,000.00         Class 5
                         Naber,         The Miller Law
       7923            Constance           Firm, P.C.      $50,000.00         Class 5
                     Nadolski, Mark
       4322           and Melissa       Stern Law, PLLC    $50,000.00         Class 5
                     National Fire &
                         Marine           Denenberg
       3032            Insurance         Tuffley, PLLC     $698,914.25        Class 6
                       Nationwide
                      Property and
                        Casualty
                       Insurance
        757            Company                             $60,000.00         Class 6
                                         Fieger, Fieger,
                     Natzel, Daryell       Kenney &
       4067           and Cheryl         Harrington, PC    $50,000.00         Class 5
                                         Fieger, Fieger,
                    Naylor, Jean and       Kenney &
       4068              Ernest          Harrington, PC    $50,000.00         Class 5
                                         Fieger, Fieger,
                    Naylor, Sally and      Kenney &
       4069             Robert           Harrington, PC    $50,000.00         Class 5
       4324            Neal, Lisa       Stern Law, PLLC    $50,000.00         Class 5
                                         The Miller Law
       7177           Nelson, Keith        Firm, P.C.      $50,000.00         Class 5



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                                         Fieger, Fieger,
                                           Kenney &
       4072          Nemeth, James       Harrington, PC    $50,000.00         Class 5
                                         The Miller Law
       7563          Nephew, Scott         Firm, P.C.      $50,000.00         Class 5
                      Neuenfeldt,        The Miller Law
       7612             Teresa             Firm, P.C.      $50,000.00         Class 5
                      Neuscheutz,
                      Ewa Christin
                     and Marggraff,
       4325              Goetz          Stern Law, PLLC    $50,000.00         Class 5
                                         Fieger, Fieger,
                     Neveau. James         Kenney &
       4073          Jr and Brigette     Harrington, PC    $50,000.00         Class 5
                     Newkirk Electric
        13           Associates, Inc.                       $2,956.75         Class 4
                     Newland, Janae      Johnson Law,
       6463            and LeRoy              PLC          $50,000.00         Class 5
                      Newman, Nick       Johnson Law,
       6558            and Christal           PLC          $50,000.00         Class 5
                                         Fieger, Fieger,
                        Nicholls,          Kenney &
       4075             Kimberly         Harrington, PC    $50,000.00         Class 5
       7998           Nickel, Brian     Dubin Law, PLLC    $50,000.00         Class 5
                       Nickerson,          Buckfire &
       6225              Shane           Buckfire, P.C.    $50,000.00         Class 5
       5330          Nicoli, Edoardo                       $14,169.86         Class 5
                                            Grant &
       8094          Nidesfski, Mary    Eisenhofer P.A.    $50,000.00         Class 5
                      Nightingale,       Johnson Law,
       6473              James                PLC          $50,000.00         Class 5
                     Noel, Ross and       Giroux Trial
       6721              Karen          Attorneys, PC      $385,945.50        Class 5
                                           Buckfire &
       6105            North, Gary       Buckfire, P.C.    $50,000.00         Class 5
                       Northwood        The Miller Law
       7405             University         Firm, P.C.      $50,000.00         Class 5
                      Nyeholt, Craig
       4328            and Beverly      Stern Law, PLLC    $50,000.00         Class 5
                     Nyeholt, William
       4329             and Paula       Stern Law, PLLC    $50,000.00         Class 5
                                         Fieger, Fieger,
                      O'Boyle, Shari       Kenney &
       4078              and Eric        Harrington, PC    $50,000.00         Class 5
       4330           O'Brien, Inez                        $50,000.00         Class 5
                                         Fieger, Fieger,
                                           Kenney &
       4079          Ochab, Carolyn      Harrington, PC    $50,000.00         Class 5
                                         The Miller Law
       7764            O'Dell, Brad        Firm, P.C.      $50,000.00         Class 5



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                                          Buckfire &
       6132            O'Dell, Robin     Buckfire, P.C.    $50,000.00         Class 5
       5280          O'Hare, Michael                        $799.00           Class 5
                     Olinzock, Peggy
                     (a/k/a Margaret)
       4332             and Robert      Stern Law, PLLC    $50,000.00         Class 5
                                         Fieger, Fieger,
                      Olson, Mattew        Kenney &
       4080           and Shannon        Harrington, PC    $50,000.00         Class 5
                                         The Miller Law
       7074           Olvera, Isabel       Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7079           O'Neil, Heidi        Firm, P.C.      $50,000.00         Class 5
       6051          Osborn, Marilyn                       $50,000.00         Class 5
                       Osmond,           The Miller Law
       7596             Wesley             Firm, P.C.      $50,000.00         Class 5
                                         Fieger, Fieger,
                       Ostahowsk,          Kenney &
       4082             Michelle         Harrington, PC    $50,000.00         Class 5
                                         Fieger, Fieger,
                       Ostergren,          Kenney &
       4081             LuAnne           Harrington, PC    $50,000.00         Class 5
                                         Fieger, Fieger,
                       Ostrander,          Kenney &
       4083              Joyce           Harrington, PC    $50,000.00         Class 5
       4331          Ouellette, Carol   Stern Law, PLLC    $50,000.00         Class 5
                                         Fieger, Fieger,
                                           Kenney &
       4084          Owens, Penny        Harrington, PC    $50,000.00         Class 5
                      P. McLaughlin      Nichols Kaster,
       8156          Properties, LLC          PLLP         $50,000.00         Class 5
                         Packard,          Buckfire &
       6092              Cynthia         Buckfire, P.C.    $50,000.00         Class 5
                                         The Miller Law
       7480           Paetz, Sandra        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7891           Page, Donald         Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7607            Page, Tom           Firm, P.C.      $50,000.00         Class 5
                                         Fieger, Fieger,
                                           Kenney &
       4085            Pagel, Jody       Harrington, PC    $50,000.00         Class 5
                                            Olsman,
                                          MacKenzie,
                        Pahssen,           Peacock &
       6666              Tamera             Wallace        $50,000.00         Class 5
                                         The Miller Law
       7088           Paisley, Gina        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7214          Palmer, Jennifer      Firm, P.C.      $50,000.00         Class 5



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                                         Cohen Milstein
                      Parent, Brian       Sellers & Toll
       6331            and Shasta             PLLC          $13,724.69         Class 5
                     Parent, Richard
       4336          Parent and Lois     Stern Law, PLLC    $50,000.00         Class 5
                                          The Miller Law
       7303           Parish, Louise        Firm, P.C.      $50,000.00         Class 5
                                          Fieger, Fieger,
                       Parkinson,           Kenney &
       4086              Danny            Harrington, PC    $50,000.00         Class 5
       4335          Parsons, Hazel      Stern Law, PLLC    $50,000.00         Class 5
                     Parsons, Jason      Rasor Law Firm,
       6050             and Tina              PLLC          $50,000.00         Class 5
                                          Fieger, Fieger,
                                            Kenney &
       4088         Patenaude, Dale       Harrington, PC    $50,000.00         Class 5
       3515          Patrzik, Adolph     Stern Law, PLLC    $50,000.00         Class 5
                        Pavone,           The Miller Law
       7841             Anthony             Firm, P.C.      $50,000.00         Class 5
                                          The Miller Law
       7470          Pawloski, Mark         Firm, P.C.      $50,000.00         Class 5
                                          Fieger, Fieger,
                       Pawlowski,           Kenney &
       4089           Sheri and Bret      Harrington, PC    $50,000.00         Class 5
                                          The Miller Law
       7605          Perrin, Thomas         Firm, P.C.      $50,000.00         Class 5
                     Petrusha, Jon
       4352             and Julie        Stern Law, PLLC    $50,000.00         Class 5
                                          The Miller Law
       7336           Phillips, John        Firm, P.C.      $50,000.00         Class 5
                                          The Miller Law
       7262           Phillips, Larry       Firm, P.C.      $50,000.00         Class 5
                                          The Miller Law
       7465          Pickvet, Michael       Firm, P.C.      $50,000.00         Class 5
                        Piechotte,
                        Robert and
       4339                Linda         Stern Law, PLLC    $50,000.00         Class 5
       4340           Pirnie, Patricia   Stern Law, PLLC    $50,000.00         Class 5
                      Pittman, Brian
       4341            and Connie        Stern Law, PLLC    $50,000.00         Class 5
                       Piwowarski,          Buckfire &
       6078              Anthony          Buckfire, P.C.    $50,000.00         Class 5
                       Piwowarski,
       5999               Francis        Stern Law, PLLC    $50,000.00         Class 5
                                          The Miller Law
       7458          Pizza, Sanford         Firm, P.C.      $50,000.00         Class 5
                                            Buckfire &
       6135           Platko, James       Buckfire, P.C.    $50,000.00         Class 5




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                                        Fieger, Fieger,
                      Platt, Ronald       Kenney &
       4092            and Brenda       Harrington, PC     $50,000.00         Class 5
                     Pleasant Beach
                      Mobile Home
       8055            Resort, LLC     Fegan Scott LLC     $50,000.00         Class 5
                                        Fieger, Fieger,
                      Polito, Anothy      Kenney &
       4095            and Susan        Harrington, PC     $50,000.00         Class 5
                       Pomranky,        The Miller Law
       7773             Arrianna          Firm, P.C.       $50,000.00         Class 5
                        Pontious,       The Miller Law
       7380              Michael          Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7894           Porter, Dawn        Firm, P.C.       $50,000.00         Class 5
       4345             Potts, Irvin   Stern Law, PLLC     $50,000.00         Class 5
                       Preczewski,        Buckfire &
       6256               William       Buckfire, P.C.     $50,000.00         Class 5
                     Priemer, Maxine
       4347              and Carl      Stern Law, PLLC     $50,000.00         Class 5
                       Progressive
                        Marathon
                        Insurance
       6008             Company        Cozen O’Connor      $167,225.55        Class 6
                       Progressive
                         Michigan
                        Insurance
       6007             Company        Cozen O’Connor      $350,806.46        Class 6
                                        Fieger, Fieger,
                     Pross, Eugene        Kenney &
       4098           and Barbara       Harrington, PC     $50,000.00         Class 5
                                        The Miller Law
       7926          Pytlak, Bernice      Firm, P.C.       $50,000.00         Class 5
                       Quagliata,
                      Anthony and
                       Delavern,
       3535              Patricia      Stern Law, PLLC     $50,000.00         Class 5
                                        Fieger, Fieger,
                                          Kenney &
       4100           Queen, Nancy      Harrington, PC     $50,000.00         Class 5
                      Ramer, LuAnn      Fieger, Fieger,
                       Ramer and          Kenney &
       4102              Steven         Harrington, PC     $50,000.00         Class 5
                                        Fieger, Fieger,
                                          Kenney &
       4103           Ramer, Mark       Harrington, PC     $50,000.00         Class 5
                        Ramos,          Fieger, Fieger,
                      Armando and         Kenney &
       4104              Jiame          Harrington, PC     $50,000.00         Class 5




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                                         The Miller Law
       7863          Ranck, Darlene         Firm, P.C.     $50,000.00         Class 5
       4350           Ranck, Jim        Stern Law, PLLC    $50,000.00         Class 5
                                           c/o Grant &
       8105           Randall, Lisa      Eisenhofer P.A.   $50,000.00         Class 5
                                             Grant &
       8122          Randle, Monica     Eisenhofer, P.A.   $50,000.00         Class 5
       4351           Ray, Jo Jean      Stern Law, PLLC    $50,000.00         Class 5
                       Raymond,          The Miller Law
       7767             Bernard             Firm, P.C.     $50,000.00         Class 5
                       Raymond,          The Miller Law
       7235             Kristine            Firm, P.C.     $50,000.00         Class 5
                                         The Miller Law
       7837           Rayner, Beth          Firm, P.C.     $50,000.00         Class 5
                     Reese, Charles      Fieger, Fieger,
                       and Meno,            Kenney &
       4106              Diane           Harrington, PC    $50,000.00         Class 5
                                         The Miller Law
       7856           Reese, Cody           Firm, P.C.     $50,000.00         Class 5
                     Reid, Michelle      The Miller Law
       7519                M.               Firm, P.C.     $50,000.00         Class 5
                     Reinke, James       Fieger, Fieger,
                        and Jimi            Kenney &
       4108             Amanda           Harrington, PC    $50,000.00         Class 5
                                         The Miller Law
       7570           Rettig, Sheila        Firm, P.C.     $50,000.00         Class 5
                                        Feiger & Feiger
                     Ricards, William        Kinney
       4110             and Holly        Harrington PC     $50,000.00         Class 5
                                         The Miller Law
       7248           Rice Jr., Larry       Firm, P.C.     $50,000.00         Class 5
                                         Fieger, Fieger,
                    Rice, Milford and       Kenney &
       4109             Marsha           Harrington, PC    $50,000.00         Class 5
                                            Buckfire &
       6195           Rice, Petrina       Buckfire, P.C.   $50,000.00         Class 5
                                             Grant &
       8114           Rice, Ramona       Eisenhofer P.A    $50,000.00         Class 5
                     Rice, Steve and
       4356               Bonni         Stern Law, PLLC    $50,000.00         Class 5
                                         The Miller Law
       7191           Richard, Kean        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7133         Richards, Harold       Firm, P.C.      $50,000.00         Class 5
                       Ridenour,         Johnson Law,
       6529         Anthony and Liz           PLC          $50,000.00         Class 5
                                            Grant &
       8141           Riggie, Adam      Eisenhofer, P.A.   $50,000.00         Class 5
                                            Grant &
       8110          Riggie, Pamela     Eisenhofer, P.A.   $50,000.00         Class 5



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                                        The Miller Law
       7608          Rinner, Timothy      Firm, P.C.       $50,000.00         Class 5
                         RL&M           Johnson Law,
       2901          Properties, LLC         PLC           $50,000.00         Class 5
                                        Johnson Law,
       2898          RMWNAV, LLC             PLC           $50,000.00         Class 5
                    Roberson, Candi     Johnson Law,
       6511            and Chris             PLC           $50,000.00         Class 5
                                        Fieger, Fieger,
                       Robert and         Kenney &
       4138             Charlene        Harrington, PC     $50,000.00         Class 5
                                        Fieger, Fieger,
                                          Kenney &
       4112          Robinson, April    Harrington, PC     $50,000.00         Class 5
                       Robinson,        The Miller Law
       7180              Jimmie           Firm, P.C.       $50,000.00         Class 5
                     Rodgers, James    Rasor Law Firm,
       6063             and Mary            PLLC           $48,984.78         Class 5
                                       Napoli Shkolnik
       1343           Rodnick, Paul         PLLC.          $50,000.00         Class 5
                     Rodriguez, Jody      Buckfire &
       6147             Rogers          Buckfire, P.C.     $50,000.00         Class 5
                                        The Miller Law
       7350          Rogers, Judith       Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7067           Root, Dorene        Firm, P.C.       $50,000.00         Class 5
                      Rosenbrock,       Fieger, Fieger,
                      Norman and          Kenney &
       4115               Karen         Harrington, PC     $50,000.00         Class 5
       4359           Ross, James      Stern Law, PLLC     $50,000.00         Class 5
                       Ross, Terel      Fieger, Fieger,
                        Ross and          Kenney &
       4116              Richard        Harrington, PC     $50,000.00         Class 5
                                        Fieger, Fieger,
                       Rousseau,          Kenney &
       4118              Nicole         Harrington, PC     $50,000.00         Class 5
                                        Feiger, Feiger,
                       Rousseau,          Kenney &
       4119              Virginia       Harrington, PC     $50,000.00         Class 5
                          Rubis,        Fieger, Fieger,
                     Christopher and      Kenney &
       4120              Crystal        Harrington, PC     $50,000.00         Class 5
                                        The Miller Law
       7126           Russell, Fred       Firm, P.C.       $50,000.00         Class 5
                       Rutledge,
                       Robert and
       4363             Ashley         Stern Law, PLLC     $50,000.00         Class 5
                                        The Miller Law
       7304          Ruttmann, Lindy      Firm, P.C.       $50,000.00         Class 5




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                                        The Miller Law
       7836         Ryan, Angela M.       Firm, P.C.       $50,000.00         Class 5
                                        Fieger, Fieger,
                      Ryan, Joseph        Kenney &
       4123           Ryan and Lisa     Harrington, PC     $50,000.00         Class 5
                                        The Miller Law
       7650          Sadler, Thania       Firm, P.C.       $50,000.00         Class 5
                         Safeco
                       Insurance
       3006            Company         Cozen O’Connor       $2,989.94         Class 6
                                        Fieger, Fieger,
                    Salas, Augustine      Kenney &
       4127          and Margaret       Harrington, PC     $50,000.00         Class 5
                     Samson, Dale
       4364           and Roberta      Stern Law, PLLC     $50,000.00         Class 5
                                        Fieger, Fieger,
                                          Kenney &
       6015          Sanburn, Robin     Harrington, PC     $50,000.00         Class 5
                         Sanford
                     Fraternal Order
                     of Eagles Local
       4366               3677         Stern Law, PLLC     $50,000.00         Class 5
                         Sanford
      236271            Hardware                             $191.20          Class 4
                         Sanford
                       Hardware 1,      The Miller Law
       1361               LLC             Firm, P.C.       $50,000.00         Class 5
                      Sanford Sport
                     Shop d/b/a Bait    The Miller Law
       7700              & More           Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7861            Satek, Anne        Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7409          Satek, Nicholas      Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7208          Sauer, Kathleen      Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       1437          Saum, Nicholas       Firm, P.C.          $0.00           Class 5
                                          Buckfire &
       6261            Saylor, Teal     Buckfire, P.C.     $50,000.00         Class 5
                        Schaffer,       The Miller Law
       7124             Frederick         Firm, P.C.       $50,000.00         Class 5
                         Schalk,        The Miller Law
       7813            Christopher        Firm, P.C.       $50,000.00         Class 5
                                          Buckfire &
       6235           Schalk, Jarod     Buckfire, P.C.     $50,000.00         Class 5
                        Schaller,
                      Michael and
       4367              Dawn          Stern Law, PLLC     $50,000.00         Class 5




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                      Scharboneau,       The Miller Law
       7442              Mary               Firm, P.C.      $50,000.00         Class 5
                                            Buckfire &
       6091         Schilinski, Cathy     Buckfire, P.C.    $50,000.00         Class 5
                       Schmidt,              Grant &
       5452            Maureen           Eisenhofer, P.A.   $50,000.00         Class 5
                                         The Miller Law
       7469           Schmidt, Paul         Firm, P.C.      $50,000.00         Class 5
                       Schmittling,      The Miller Law
       7287              Linda              Firm, P.C.      $50,000.00         Class 5
                                         Fieger, Fieger,
                     Schmittling, Lisa      Kenney &
       4132           and Gregory        Harrington, PC     $50,000.00         Class 5
                     Schneider, Ron
       4371            and Denise        Stern Law, PLLC    $50,000.00         Class 5
                     Schnettler, Mary
       4370            and Dennis        Stern Law, PLLC    $50,000.00         Class 5
                                          Fieger, Fieger,
                      Schoenmeyer,          Kenney &
       4135              Charles          Harrington, PC    $50,000.00         Class 5
                                          The Miller Law
       7491          Scholtz, Russel        Firm, P.C.      $50,000.00         Class 5
                                            Buckfire &
       6248           Scholtz, Tracy      Buckfire, P.C.    $50,000.00         Class 5
                        Schomer,            Buckfire &
       6071              Barbara          Buckfire, P.C.    $50,000.00         Class 5
                                          Johnson Law,
       2883          Schramm, Judy             PLC          $50,000.00         Class 5
       4377          Schultz, Michael    Stern Law, PLLC    $50,000.00         Class 5
                                          The Miller Law
       7456           Schulz, Sarah         Firm, P.C.      $50,000.00         Class 5
                                          The Miller Law
       7697          Schulz, Sarah          Firm, P.C.      $50,000.00         Class 5
                      Schumacher,
                       Jared and
       4372             Christina        Stern Law, PLLC    $50,000.00         Class 5
                      Schumacher,
       4373              John            Stern Law, PLLC    $50,000.00         Class 5
       4374          Schwager, Lisa      Stern Law, PLLC    $50,000.00         Class 5
                     Schwartzkopf,        The Miller Law
       7234             Jennifer            Firm, P.C.      $50,000.00         Class 5
                       Schwind,           The Miller Law
       7072             Dorothy             Firm, P.C.      $50,000.00         Class 5
                                          The Miller Law
       7742            Scott, Amy           Firm, P.C.      $50,000.00         Class 5
       4375            Sears, Greg       Stern Law, PLLC    $50,000.00         Class 5
                         Secord
                        Township
      236222            Treasurer                             $306.70          Class 4




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                         Secord
                        Township
      236223            Treasurer                            $2,808.89         Class 4
                                         Fieger, Fieger,
                     Sedlar, Steven        Kenney &
       4136           and Kimberly       Harrington, PC     $50,000.00         Class 5
                                         Fieger, Fieger,
                                           Kenney &
       4137           See, Margaret      Harrington, PC     $50,000.00         Class 5
                                         The Miller Law
       7911           Seigla, Carol        Firm, P.C.       $50,000.00         Class 5
                                           Buckfire &
       6093            Seitz, Curt       Buckfire, P.C.     $50,000.00         Class 5
                        Selective
                       Insurance          Law Offices of
                      Company of            Robert A.
       8147          South Carolina         Stutman          $9,126.90         Class 6
                        Selective
                       Insurance          Law Offices of
                     Company of the         Robert A.
       8146            Southeast             Stutman         $3,184.17         Class 6
       4380          Sentz, Thomas       Stern Law, PLLC    $50,000.00         Class 5
                                          The Miller Law
       7132          Shafer, Gary L.        Firm, P.C.      $50,000.00         Class 5
                                          Johnson Law,
       6505          Shaheen, Peter            PLC          $50,000.00         Class 5
                                          The Miller Law
       7225           Shangle, Joan         Firm, P.C.      $50,000.00         Class 5
                      Shangle, Mike
       4378            and Connie        Stern Law, PLLC    $50,000.00         Class 5
                                            Buckfire &
       6080          Sharma, Bharati      Buckfire, P.C.    $50,000.00         Class 5
                                          The Miller Law
       7306          Shattuck, Keith        Firm, P.C.      $50,000.00         Class 5
                                          Fieger, Fieger,
                     Shear, Charlene        Kenney &
       3768            and Robert         Harrington, PC    $50,000.00         Class 5
                       Shemanski,         The Miller Law
       7873              Donald             Firm, P.C.      $50,000.00         Class 5
                     Sherman, Allan        Schafer and
       3349             and Lynn          Weiner, PLLC      $50,000.00         Class 5
                                          The Miller Law
       7879           Sian, Dennis          Firm, P.C.      $50,000.00         Class 5
                                            Buckfire &
       6108          Simbeck, Emily       Buckfire, P.C.    $50,000.00         Class 5
                                            Buckfire &
       6186           Simon, James        Buckfire, P.C.    $50,000.00         Class 5
                                          The Miller Law
       7580            Simon, Tina          Firm, P.C.      $50,000.00         Class 5
       4382           Sirrine, Phyllis   Stern Law, PLLC    $50,000.00         Class 5



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                                        The Miller Law
       7239          Skop, Kamarie        Firm, P.C.       $50,000.00         Class 5
                                        Johnson Law,
       6612           Skutt, Sharon          PLC           $50,000.00         Class 5
                                        Fieger, Fieger,
                     Slavens, Karen       Kenney &
       4142          and Raymond        Harrington, PC     $50,000.00         Class 5
                        Small II,
                        Kenneth
       4384             Laverne        Stern Law, PLLC     $50,000.00         Class 5
                     Smith Sanford
                     Prop LLC d/b/a     The Miller Law
       7706              Lanny's          Firm, P.C.       $50,000.00         Class 5
                     Smith Sanford
                     Prop LLC d/b/a
                        Sanford
                      Chiropractic      The Miller Law
       7705              Center           Firm, P.C.       $50,000.00         Class 5
                                        The Miller Law
       7434          Smith, Matthew       Firm, P.C.       $50,000.00         Class 5
                      Smith, Nico       Nichols Kaster,
       8149            Anthony               PLLP          $50,000.00         Class 5
                                        Fieger, Fieger,
                                          Kenney &
       4145          Smith, Richard     Harrington, PC     $50,000.00         Class 5
                                        The Miller Law
       7488           Smith, Robert       Firm, P.C.       $50,000.00         Class 5
                                        Fieger, Fieger,
                     Smith, Timothy       Kenney &
       4147           and Alyssa        Harrington, PC     $50,000.00         Class 5
                                        The Miller Law
       7653            Smith, Tyler       Firm, P.C.       $50,000.00         Class 5
                                        Fieger, Fieger,
                    Sommer, Klaus         Kenney &
       4149            and Gloria       Harrington, PC     $50,000.00         Class 5
                     Sommerfield,       Fieger, Fieger,
                      Edward and          Kenney &
       4148             Brenda          Harrington, PC     $50,000.00         Class 5
       4389         Sophiea, Robert    Stern Law, PLLC     $50,000.00         Class 5
                    Spencer, Tabitha    The Miller Law
       7590                L.             Firm, P.C.       $50,000.00         Class 5
                    Sperling, James
       4391          and Margaret      Stern Law, PLLC     $50,000.00         Class 5
                                        Fieger, Fieger,
                    Spitler, Kenneth      Kenney &
       4154           and Lindsey       Harrington, PC     $50,000.00         Class 5
                    Spitnale, Ronald
       8020            and Wilma       Dubin Law, PLLC     $10,728.00         Class 5
                                           Grant &
       8116          Sr., Randy Rice    Eisenhofer P.A     $50,000.00         Class 5



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                                          Fieger, Fieger,
                                            Kenney &
       4155          Starkey, Crystal     Harrington, PC     $50,000.00         Class 5
                       State Farm
                          Mutual
                       Automobile
                        Insurance
       6003             Company           Cozen O’Connor     $476,308.43        Class 6
                     Stearns, Carol
       4395            and Wilbur         Stern Law, PLLC    $50,000.00         Class 5
                                           Fieger, Fieger,
                      Steck, James           Kenney &
       4158            and Susan           Harrington, PC    $50,000.00         Class 5
                      Steeg, Marilyn
       4392            and Donna          Stern Law, PLLC    $50,000.00         Class 5
                        Steven E.
                       Balogh and
                       Kimberly D.
                         Balogh
                        Revocable         The Miller Law
       7704            Living Trust         Firm, P.C.       $50,000.00         Class 5
                                          The Miller Law
       7805          Stibitz, Christine     Firm, P.C.       $50,000.00         Class 5
                                          Fieger, Fieger,
                      Stoinsk, Ruth         Kenney &
       4162             and Larry         Harrington, PC     $50,000.00         Class 5
                                            Buckfire &
       6162           Stokes, Kevin       Buckfire, P.C.     $50,000.00         Class 5
                        Stoyanoff,
       4396              Michael          Stern Law, PLLC    $50,000.00         Class 5
                      Stracke, Katie       Johnson Law,
       6614            and Jordan               PLC          $50,000.00         Class 5
                                           Fieger, Fieger,
                                             Kenney &
       4163           Stricker, Betty      Harrington, PC    $50,000.00         Class 5
                                           The Miller Law
       7932          Strother, David         Firm, P.C.      $50,000.00         Class 5
                                           Johnson Law,
       6531          Stryker, Rhosan            PLC          $50,000.00         Class 5
                                           The Miller Law
       7482          Stuart, Rhonda          Firm, P.C.      $50,000.00         Class 5
                                           Fieger, Fieger,
                                             Kenney &
       4165          Stupar, Robert        Harrington, PC    $50,000.00         Class 5
                         Sugar             Johnson Law,
       2973           Construction              PLC          $50,000.00         Class 5
                                           The Miller Law
       7925          Sullivan, David         Firm, P.C.      $50,000.00         Class 5




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                                        Fieger, Fieger,
                    Surbrook, Eileen      Kenney &
       4168         and Christopher     Harrington, PC      $50,000.00        Class 5
                                        Fieger, Fieger,
                                          Kenney &
       4169            Sutliff, Kirk    Harrington, PC      $50,000.00        Class 5
                                        Fieger, Fieger,
                                          Kenney &
       4170          Sutton, Marian     Harrington, PC      $50,000.00        Class 5
                        Swan &
      236273         Gardiner CPAs                          $4,297.35         Class 4
                                        The Miller Law
       7795          Swenson, Cathy        Firm, P.C.       $50,000.00        Class 5
                                        Fieger, Fieger,
                     Swett, Keith and      Kenney &
       4171               Laura         Harrington, PC      $50,000.00        Class 5
                                            Grant &
       5480          Sykes, Tamara      Eisenhofer, P.A.    $50,000.00        Class 5
                                        The Miller Law
       7586          Szarenski, Tina       Firm, P.C.       $50,000.00        Class 5
                      Szymanski,           Buckfire &
       6114              Donna           Buckfire, P.C.     $50,000.00        Class 5
                                        The Miller Law
       7896           Taylor, Dawn         Firm, P.C.       $50,000.00        Class 5
                                        The Miller Law
       7201           Terrell, James       Firm, P.C.       $50,000.00        Class 5
                       The Buster       The Miller Law
       7846            Family Trust        Firm, P.C.       $50,000.00        Class 5
                      The Cincinnati     Law Offices of
                         Casualty          Robert A.
       8143             Company             Stutman        $104,132.42        Class 6
                      The Cincinnati     Law Offices of
                        Indemnity          Robert A.
       8144             Company             Stutman         $1,000.00         Class 6
                      The Cincinnati     Law Offices of
                        Insurance          Robert A.
       8145             Company             Stutman        $1,436,584.88      Class 6
                                        Fieger, Fieger,
                       Theobald,           Kenney &
       4175             Patricia        Harrington, PC      $50,000.00        Class 5
                      Theuerkauf,       The Miller Law
       7236             Kathrin            Firm, P.C.       $50,000.00        Class 5
                      Thibodeau,
       4401          Bruce and Toni     Stern Law, PLLC     $50,000.00        Class 5
                                         Fieger, Fieger,
                     Thomas, Brady         Kenney &
       4178            and Donna         Harrington, PC     $50,000.00        Class 5
                                         Fieger, Fieger,
                     Thomas, Kelvin        Kenney &
       4179           and Melissa        Harrington, PC     $50,000.00        Class 5



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                      Thompson,             Grant &
       8078             Dennis           Eisenhofer P.A     $50,000.00        Class 5
                      Thompson,          The Miller Law
       7351              Janet             Firm, P.C.       $50,000.00        Class 5
                      Thompson,          The Miller Law
       7461             Robert             Firm, P.C.       $50,000.00        Class 5
                      Thorington,        The Miller Law
       7296             Joanne             Firm, P.C.       $50,000.00        Class 5
                    Three Diamonds
                    Designer Bridal      The Miller Law
       7703          Boutique LLC          Firm, P.C.       $50,000.00        Class 5
                                         c/o Miller Law
       7415           Thurlow, Nora         Firm, PC        $50,000.00        Class 5
                                         Fieger, Fieger,
                                           Kenney &
       4182          Tiburzi, Judith     Harrington, PC     $50,000.00        Class 5
       4405          Timm, Michael      Stern Law, PLLC     $50,000.00        Class 5
                        Tobacco
                       Township
      236224           Treasurer                             $4,536.27        Class 4
       4407            Todd, Jim        Stern Law, PLLC     $50,000.00        Class 5
                                           Buckfire &
       6100           Torbet, Chris      Buckfire, P.C.     $50,000.00        Class 5
                                           Buckfire &
       6187         Trancygier, Mark     Buckfire, P.C.     $50,000.00        Class 5
                      Tri-Star Trust     The Miller Law
       7604                Bank            Firm, P.C.       $50,000.00        Class 5
                     Trosko, William
       4408             and Karen       Stern Law, PLLC     $50,000.00        Class 5
                    Troupe, Brenda
                        and Scott
       7996              Schultz        Dubin Law, PLLC     $50,000.00        Class 5
                        Truelove,         Giroux Trial
       6720               Denice         Attorneys, PC     $434,029.00        Class 5
                     Tucker, Peggy
       8038            and Joseph       Fegan Scott LLC     $50,000.00        Class 5
                                          Schafer and
       3356          Tucker, Wayne       Weiner, PLLC       $50,000.00        Class 5
                                         Fieger, Fieger,
                      Turell, Dorothy      Kenney &
       4184            and Donald        Harrington, PC     $50,000.00        Class 5
                         Turnbull,
       4409              Brandon        Stern Law, PLLC     $50,000.00        Class 5
                     Turskey, Donald    Rasor Law Firm,
       6042            and Teresa            PLLC          $1,025,374.46      Class 5
                                         Fieger, Fieger,
                     Tweddle, Robert       Kenney &
       4185           and Jennifer       Harrington, PC     $50,000.00        Class 5
                                         The Miller Law
       7507            Tyler, Penny        Firm, P.C.       $50,000.00        Class 5



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                        U.S. Bank
                         National
                     Association dba
                      Elan Financial
        12               Services                           $8,000.00         Class 4
                     Uhelski, Joseph    Rasor Law Firm,
       6060             and Becky           PLLC           $188,137.98        Class 5
                       UNUM Life
                        Insurance
                       Company of
      236274             America                             $577.44          Class 4
                                         The Miller Law
       7410          Urban, Oksana         Firm, P.C.      $50,000.00         Class 5
                                         Fieger, Fieger,
                                           Kenney &
       4214           Vakich, John       Harrington, PC    $50,000.00         Class 5
                       Van Ness
      236305          Feldman P.C.                          $5,486.00         Class 4
                          Van
                      Regenmorter,       The Miller Law
       7734             Amanda             Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7515          Vance, Nancy          Firm, P.C.      $50,000.00         Class 5
                      Vanderhoff,
                      Gerald and
       4413          Damude, Sara       Stern Law, PLLC    $50,000.00         Class 5
                        Vanhoey,         The Miller Law
       7739             Amanda             Firm, P.C.      $50,000.00         Class 5
                       VanSteen,         The Miller Law
       7668              Susan             Firm, P.C.      $50,000.00         Class 5
      236306          Varnum LLP                            $7,097.13         Class 4
      236275        Verizon Wireless                         $270.00          Class 4
                                         Fieger, Fieger,
                                            Kenny &
       4190            Vezina, Julie     Harrington, PC    $50,000.00         Class 5
                     Vic Bond Sales,
      236276          Inc. - Gladwin                         $456.21          Class 4
                      Villarreal, Tom
       4417             and Joann       Stern Law, PLLC    $50,000.00         Class 5
                                         Fieger, Fieger,
                                            Kenny &
       4191           Vinson, John       Harrington, PC    $50,000.00         Class 5
       8132           Visnaw, Terry     Dubin Law, PLLC    $50,000.00         Class 5
                     Voakes, Michael
       4418            and Allison      Stern Law, PLLC    $50,000.00         Class 5
                                         The Miller Law
       7302           Wackerle, Lon        Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7449           Wackerle, Neil       Firm, P.C.      $50,000.00         Class 5




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                                        Fieger, Fieger,
                     Wagner, Aaron        Kenney &
       4192           and Melanie       Harrington, PC     $50,000.00         Class 5
                        Wagner,
       4421             Bethany        Stern Law, PLLC     $50,000.00         Class 5
                       Wagoner,         Johnson Law,
       6540             Rodney               PLC           $50,000.00         Class 5
                      Wainwright,       The Miller Law
       7828            Angela M.          Firm, P.C.       $50,000.00         Class 5
                                          Buckfire &
       6101          Walker, Charles    Buckfire, P.C.     $50,000.00         Class 5
                                        Fieger, Fieger,
                      Walker, Judith      Kenney &
       4194            and Phillip      Harrington, PC     $50,000.00         Class 5
                        Wallace,        The Miller Law
       7497             Richard           Firm, P.C.       $50,000.00         Class 5
                                        Fieger, Fieger,
                      Waltz, Krista        Kenny &
       4196           and Donald        Harrington, PC     $50,000.00         Class 5
       4422          Wang, Weikang     Stern Law, PLLC     $50,000.00         Class 5
                                          Buckfire &
       6133           Ware, Richard     Buckfire, P.C.     $50,000.00         Class 5
                                        The Miller Law
       7441          Warmbier, Ray        Firm, P.C.       $50,000.00         Class 5
                                          Buckfire &
       6079          Warner, Barbara    Buckfire, P.C.     $50,000.00         Class 5
                        Warren,
                      Brennon and       Johnson Law,
       6564              Sarah               PLC           $50,000.00         Class 5
       4423           Warren, Jan      Stern Law, PLLC     $50,000.00         Class 5
                         Waste
      236277          Management                             $124.95          Class 4
                       Waterman,            Grant &
       8133              Wanda          Eisenhofer, P.A.   $50,000.00         Class 5
                                        The Miller Law
       7647          Watts, Suzanne        Firm, P.C.      $50,000.00         Class 5
                                        The Miller Law
       7686          Watts, Suzanne        Firm, P.C.      $50,000.00         Class 5
                                         Johnson Law,
       6547          Wazny, James             PLC          $50,000.00         Class 5
                                        The Miller Law
       7566          Weaver, Sharon        Firm, P.C.      $50,000.00         Class 5
                                        The Miller Law
       7533           Webb, Robert         Firm, P.C.      $50,000.00         Class 5
                                        The Miller Law
       7565           Webb, Sarah          Firm, P.C.      $50,000.00         Class 5
                                        Fieger, Fieger,
                                           Kenney &
       4197          Weber, Kenneth     Harrington, PC     $50,000.00         Class 5




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                                        Fieger, Fieger,
                                           Kenny &
       4198          Weber, William     Harrington, PC     $50,000.00         Class 5
                                        The Miller Law
       7269          Weckesser, Jeff      Firm, P.C.       $50,000.00         Class 5
       4424          Wedge, Trevor     Stern Law, PLLC     $50,000.00         Class 5
                                        The Miller Law
       7862          Weeks, Daniel        Firm, P.C.       $50,000.00         Class 5
       4425          Weiss, Marilyn    Stern Law, PLLC     $50,000.00         Class 5
                                        The Miller Law
       7859          Welch, Amanda        Firm, P.C.       $50,000.00         Class 5
                       Wendling,        The Miller Law
       7428             Matthew           Firm, P.C.       $50,000.00         Class 5
                       Wernette,        Wm Maxwell &
       4309             Douglas           Associates       $11,832.00         Class 5
      236278           Wex Bank                             $648.20           Class 4
                      Weyburne,         The Miller Law
       7387              Patrick          Firm, P.C.       $50,000.00         Class 5
                       Wheeler,         The Miller Law
       7918             Colleen           Firm, P.C.       $50,000.00         Class 5
                                        Johnson Law,
       6574            White, Jan            PLC           $50,000.00         Class 5
                                        Fieger, Fieger,
                                           Kenny &
       4201           White, Marcia     Harrington, PC     $50,000.00         Class 5
                                          Buckfire &
       6232          White, Wade        Buckfire, P.C.     $50,000.00         Class 5
                    Whitman, Duane     Rasor Law Firm,
       6045          and Brenda             PLLC           $151,168.11        Class 5
                    Whitmore, Janel    Nichols Kaster,
       8158          and Nathan              PLLP          $128,853.63        Class 5
                                       Nichols Kaster,
       8162          Wickman, Chad           PLLP          $50,000.00         Class 5
      236279         Wieland Trucks                         $210.14           Class 4
                                          Buckfire &
       6175           Wieland, Mary      Buckfire, P.C.    $50,000.00         Class 5
                      Wilde, David
       4426             and Anna       Stern Law, PLLC     $50,000.00         Class 5
                                        The Miller Law
       7797          Wilkin, Cindy        Firm, P.C.       $50,000.00         Class 5
                    Willard, Ron and
       4427               Linda        Stern Law, PLLC     $50,000.00         Class 5
                                        Fieger, Fieger,
                                          Kenney &
       4203          Williams, David    Harrington, PC     $50,000.00         Class 5
                        Williams,       Johnson Law,
       6570             Margaret             PLC           $50,000.00         Class 5
                        Williams,       The Miller Law
       7598              Thomas           Firm, P.C.       $50,000.00         Class 5




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                      Willis, James
       4428            and Jean        Stern Law PLLC      $50,000.00         Class 5
                                          Buckfire &
       6120          Willis, Leonard    Buckfire, P.C.     $50,000.00         Class 5
                                        Fieger, Fieger,
                                          Kenney &
       4205          Wilson, Mark       Harrington, PC     $50,000.00         Class 5
                     Windover High      The Miller Law
       7602             School            Firm, P.C.       $50,000.00         Class 5
                      Wirbel, Jerry
       4429            and Pearl       Stern Law, PLLC     $50,000.00         Class 5
                      Wise, Adrian
       4430            and Jillian     Stern Law, PLLC     $50,000.00         Class 5
                                        Fieger, Fieger,
                     Wittbrodt, Todd      Kenney &
       4209            and Dawn         Harrington, PC     $50,000.00         Class 5
                                          Buckfire &
       6200           Wolf, Richard     Buckfire, P.C.     $50,000.00         Class 5
                     Wood, Rod and
       4433            Bernadette      Stern Law, PLLC     $50,000.00         Class 5
                                        Fieger, Fieger,
                    Woodcock, Beth        Kenney &
       4210           and Larry         Harrington, PC     $50,000.00         Class 5
                    Woodcock, Terry     The Miller Law
       7624               II              Firm, P.C.       $50,000.00         Class 5
                      Woodruff,         The Miller Law
       7213            Janithan           Firm, P.C.       $50,000.00         Class 5
                                        Fieger, Fieger,
                      Woodward,           Kenney &
       4211          David and Amy      Harrington, PC     $50,000.00         Class 5
                      Woodward,            Grant &
       5472             Sharon         Eisenhofer, P.A.    $50,000.00         Class 5
                                        Fieger, Fieger,
                                          Kenney &
       4213         Worsham, Gloria     Harrington, PC     $50,000.00         Class 5
                                        The Miller Law
       7789          Wozniak, Cheryl      Firm, P.C.       $50,000.00         Class 5
                                        Johnson Law,
       6583          Wozniak, Daniel         PLC           $50,000.00         Class 5
                                           Grant &
       8093            Wrenn, Jo        Eisenhofer P.A     $50,000.00         Class 5
       4436          Wright, Andrew    Stern Law, PLLC     $50,000.00         Class 5
                      Yahrmarkt,
       6318              Robert                               $0.00           Class 5
                                        Fieger, Fieger,
                     Yascolt, Vernon      Kenney &
       4215           and Geoffrey      Harrington, PC     $50,000.00         Class 5
                                        The Miller Law
       7746          Young, Amanda        Firm, P.C.       $50,000.00         Class 5




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                     Young, Jim and      Johnson Law,
       6592               Jan                 PLC          $50,000.00         Class 5
                                         The Miller Law
       7241          Young, Kellen         Firm, P.C.      $50,000.00         Class 5
                     Young, William
       7988               Scott         Dubin Law, PLLC    $197,034.92        Class 5
                      Youngblood,          Buckfire &
       6210              Robert          Buckfire, P.C.    $50,000.00         Class 5
                     Zadonia, Kelly
       4438             and Gary        Stern Law, PLLC    $50,000.00         Class 5
                      Zimmerman,
       4439          Eric and Abby      Stern Law, PLLC    $50,000.00         Class 5
                      Zimmerman,         Fieger, Fieger,
                      Gregory and          Kenney &
       4218             Roberta          Harrington, PC    $50,000.00         Class 5
                      Zimmerman,         Johnson Law,
       6627            Mackenzie              PLC          $50,000.00         Class 5
                      Zimmerman,         The Miller Law
       7597              Steven            Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7282          Zirwes, Kristina      Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7591          Zirwes, William       Firm, P.C.      $50,000.00         Class 5
                                         The Miller Law
       7606           Zmikly, Walter       Firm, P.C.      $50,000.00         Class 5




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